Case 7:18-cv-00619-EKD Document1-1 Filed 12/13/18 Page 1of60 Pageid#: 21

COVER SHEET FOR FILING CIVIL ACTIONS

COMMONWEALTH OF VIRGINIA

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uu dontgomery County, Virginia

PLAINTIFF(S)

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Case No, CASS OO AAS OD.

(CLERK’S OFFICE USE ONLY)
fieeene Circuit Court

urdue Pharma, L.P., et abe i cscusun

DEFENDANT(S)

1, the undersigned [ ] plaintiff [ ] defendant [x] attorney for [x] plaintiff [ ] defendant hereby notify the Clerk of Court that I am filing
the following civil action. (Please indicate by checking box that most closely identifies the claim being asserted or relief sought.)

GENERAL CIVIL
Subsequent Actions
{ ] Claim Impleading Third Party Defendant
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Counterclaim
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Cross Claim
[ ] Interpleader
[ ] Reinstatement (other than divorce or
driving privileges)
[ ] Removal of Case to Federal Court
Business & Contract
[ ] Attachment
[ ] Confessed Judgment
[ ] Contract Action
[ ] Contract Specific Performance
[ ] Detinue
[ ] Garnishment
Property
[ ] Annexation
[ ] Condemnation
[ ] Ejectment
[ ] Encumber/Sell Real Estate
[ ] Enforce Vendor’s Lien
{ ] Escheatment
{ ] Establish Boundaries
[ ] Landlord/Tenant
{ ] Unlawful Detainer
[ ] Mechanics Lien
[ ] Partition
[ ] Quiet Title
{ ] Termination of Mineral Rights
Tort
[ ] Asbestos Litigation
[ ] Compromise Settlement
{ ] Intentional Tort
{ ] Medica] Malpractice
{ ] Motor Vehicle Tort
[ ] Product Liability
{ ] Wrongful Death
[x] Other General Tort Liability

[x] Damages in the amount of $ 100,000,000.00

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DATE

ADMINISTRATIVE LAW
( ] Appeal/Judicial Review of Decision of
(select one)
[ ] ABC Board
[ ] Board of Zoning
[ ] Compensation Board
[ ] DMV License Suspension
[ ] Employee Grievance Decision
[ ] Employment Commission
{ ] Local Government
[ ] Marine Resources Commission
{ ] School Board
{ ] Voter Registration
[ ] Other Administrative Appeal
DOMESTIC/FAMILY
[ ] Adoption
{ ] Adoption — Foreign
Adult Protection
Annulment
{ ] Annulment — Counterclaim/Responsive
Pleading
{ ] Child Abuse and Neglect — Unfounded
Complaint
{ ] Civil Contempt
[ ] Divorce (select one)
[ ] Complaint — Contested*
[ ] Complaint — Uncontested*
[ ] Counterclaim/Responsive Pleading
[ ] Reinstatement —
Custody/Visitation/Support/Equitable
Distribution
[ ] Separate Maintenance
[ ] Separate Maintenance Counterclaim

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WRITS
[ ] Certiorari
[ ] Habeas Corpus
[ ] Mandamus
[ ] Prohibition
[ ] Quo Warranto

PROBATE/WILLS AND TRUSTS
{ ] Accounting
[ ] Aid and Guidance
{ ] Appointment (select one)
[ ] Guardian/Conservator
[ ] Standby Guardian/Conservator
{ ] Custedian/Successor Custodian (UTMA)
[ ] Trust (select one)
{ ] Impress/Declare/Create
{ ] Reformation
[ ] Will (select one)
[ ] Construe
[ ] Contested

MISCELLANEOUS
{ ] Amend Death Certificate
[ ] Appointment (select one)
[ ] Church Trustee
[ }] Conservator of Peace
[ ] Marriage Celebrant
{ ] Approval of Transfer of Structured
Settlement
Bond Forfeiture Appeal
Declaratory Judgment
Declare Death
Driving Privileges (select one)
[ ] Reinstatement pursuant to § 46.2-427
[ ] Restoration — Habitual Offender or 3
Offense
Expungement
Firearms Rights — Restoration
Forfeiture of Property or Money
Freedom of Information
Injunction
Interdiction
Interrogatory
Judgment Lien-Bill to Enforce
Law Enforcement/Public Official Petition
Name Change
Referendum Elections
Sever Order
Taxes (select one)
[ ] Correct Erroneous State/Local
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[ ] Vehicle Confiscation
[ ] Voting Rights — Restoration
[ ] Other (please specify)
we. are Claimed.
4
Guanh Man {
{ | PLAINTIFF [ ] DEFENDANT [x] ATTORNEY FOR bd PLAINTIFF
| ] DEFENDANT

PRINT NAME

_.../00 Pennsylvania Avenue SE, Suite 300, Washington, D.C, 20003
ADDRESS/TELEPHONE NUMBER OF SIGNATOR

serene O02) AI 95200 cnsmusnitsnnnnnatnannsnn

EMAIL ADDRESS OF SIGNATOR (OPTIONAL)

FORM CC-1416 (MASTER) PAGE ONE 07/16

 

 

*“Contested” divorce means any of the following matters are in
dispute: grounds of divorce, spousal support and maintenance,
child custody and/or visitation, child support, property distribution
or debt allocation, An “Uncontested” divorce is filed on no fault
grounds and none of the above issues are in dispute.

 

 

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Case 7:18-cv-00619-EKD Document1-1 Filed 12/13/18 Page 2 of 60 Pageid#: 22

Civil Action Type Codes
(Clerk’s Office Use Only)

   

 
 
  
 

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Adoption ... ia
Adoption — Foreign. shana eey pr ialenmm Weare NE RERENTERT
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Annulment — ‘Counterclaim/Responsive Pleading . ACRP
Appeal/Judicial Review
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Appointment
Conservator Of Peace oo. iccscsssssssssesesees .. COP
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Guardian/Conservator .. desseesssesssenss APPT

Marriage Celebrant .. “ae ROMC

  

 

Standby Guardian/Conservator .. seu SEND
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Attachment .. . ATT
Bond Forfeiture ‘Appeal . BFA

Child Abuse and Neglect Spa Complaint. .CAN

 

 

Civil Contempt .... we ...CCON
Claim Impleading Third Party Defendant - ~
Monetary Damages/No Monetary Damages ........... CTP
Complaint — (Miscellaneous) 0.0... ren, COM
Compromise Settlement oo... ccccccccscccscssesseeeneeneen
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Cross Claim .....

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Declare Death ............... ..DDTH
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Divorce
Complaint — Contested/Uncontested .........u0.0DIV
Counterclaim/Responsive Pleading. ............ tae DCRP
Reinstatement — Custody/Visitation/S sHapeR
Equitable Distribution .. unanmmemene VS
Driving Privileges
Reinstatement pursuant to § 46,2-427 woo DRIV
Restoration — Habitual Offender or
3% OFFENSE ecneteneeinstnnensnenenennannaninnn REST

FORM CC-1416 (MASTER) PAGE TWO L0/I7

    
  
  
   
 
   

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Encumber/Sell Real Estate .,
Enforce Vendor’s Lien ..........
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Establish Boundaries .
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Forfeiture of Property or 1 Money sevseetsenssennans
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Medical ee is
Motor Vehicle Tort .
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Other General Tort ‘Liability. —
Partition .. PART
Permit, Unconstitutional Grant/Denial by Locality LUC
Petition -— Ce eneous) « seceeesese wee PET
Product Liability ... iis .
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Referendum Elections . ‘
Reinstatement (Other than divorce o or * ariving:
privileges) ...
Removal of Case to R ederal Court ..
Restore Firearms Rights — Felony .................
Restore Firearms Rights — Review ..
Separate Maintenance .. x
Separate Maintenance — Counterlsim/Responsiv

  

 

 

   

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Voting Rights — Restoration .. isha aiehsseteeisraeeen MOLE

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Writs

 

  

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Mandamus .......... we WM
Prohibition ..... .. WP
Quo Warranto WOW
Wrongful Death occ ccccceeccecscssesnnsneeennsenanmmniaeees WD
Case 7:18-cv-00619-EKD Document1-1 Filed 12/13/18 Page 3 of 60 Pageid#: 23

VIRGINIA: IN THE CIRCUIT COURT OF MONTGOMERY COU TY
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MONTGOMERY COUNTY, VIRGINIA RECEIVED AND FILED
Plaintiff,
C06 20%
Vv.
Montgomery County Clreuit Court
PURDUE PHARMA, L.P.; PURDUE PHARMA, Eriea|W. Conner, Clark
INC.; THE PURDUE FREDERICK COMPANY,

INC.; RHODES PHARMACEUTICALS, L.P.;
ABBOTT LABORATORIES; ABBOTT |
LABORATORIES, INC.; MALLINCKRODT
PLC; MALLINCKRODT LLC; ENDO HEALTH
SOLUTIONS, INC; ENDO
PHARMACEUTICALS, INC.:; PAR
PHARMACEUTICAL COMPANIES, INC.; PAR
PHARMACEUTICAL, INC.; TEVA Jury Trial Demanded
PHARMACEUTICALS USA, INC.; |
CEPHALON, INC.; BARR LABORATORIES,
INC.; JANSSEN PHARMACEUTICALS, INC; |
ORTHO-MCNEIL-JANSSEN |
PHARMACEUTICALS, INC.; JANSSEN
PHARMACEUTICA, INC.; WATSON
LABORATORIES, INC.; ALLERGAN PLC;
ACTAVIS PHARMA, INC.; ACTAVIS, LLC;
INSYS THERAPEUTICS, INC.; KVK-TECH,
INC.; AMNEAL PHARMACEUTICALS LLC; |
IMPAX LABORATORIES, LLC: AMNEAL
PHARMACEUTICALS, INC.; AMNEAL i
PHARMACEUTICALS OF NEW YORK, LLC; |
MYLAN PHARMACEUTICALS, INC.: |
|

Case No. CL18 - [O° BAND-CG

Ih

. MCKESSON CORPORATION; MCKESSON
MEDICAL-SURGICAL INC.; CARDINAL
HEALTH, INC.; AMERISOURCEBERGEN |
DRUG CORPORATION; HENRY SCHEIN, |
INC.; GENERAL INJECTABLES & VACCINES,
INC.; INSOURCE, INC.; CVS HEALTH
CORPORATION; CVS PHARMACY, INC.; CVS
TN DISTRIBUTION, L.L.C.; WALGREENS
BOOTS ALLIANCE, INC.; WALGREEN CO.;
EXPRESS SCRIPTS HOLDING COMPANY;
EXPRESS SCRIPTS, INC; CAREMARK RX,
L.L.C.; CAREMARKPCS HEALTH, L.L.c.;
CAREMARK, L.L.C.; UNITEDHEALTH
GROUP INCORPORATED; OPTUM, INC.:
OPTUMRX, INC.; and DOES 1-100,

 

Defendants,

 

 
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PLAINTIFF’S ORIGINAL COMPLAINT

Plaintiff, Montgomery County, Virginia, by and through the undersigned attorneys,
(hereinafter “Plaintiff,” “Montgomery County,” or “County”) against Defendants: Purdue Pharma,
L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Rhodes Pharmaceuticals, L.P.;
Abbott Laboratories; Abbott Laboratories, Inc.; Mallinckrodt PLC; Mallinckrodt LLC; Endo
Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Par Pharmaceutical Companies, Inc.; Par
Pharmaceuticals, Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Barr Laboratories, Inc.;
Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.; Janssen
Pharmaceutica, Inc.; Watson Laboratories, Inc.; Allergan PLC; Actavis Pharma, Inc.; Actavis,
LLC; Insys Therapeutics, Inc.; KVK-Tech, Inc.; Amneal Pharmaceuticals LLC; Impax
Laboratories, LLC; Amneal Pharmaceuticals, Inc.; Amneal Pharmaceuticals of New York, LLC;
Mylan Pharmaceuticals, Inc.; McKesson Corporation; McKesson Medical-Surgical Inc.; Cardinal
Health, Inc.; AmerisourceBergen Drug Corporation; Henry Schein, Inc.; General Injectables &
Vaccines, Inc.; Insource, Inc.; CVS Health Corporation; CVS Pharmacy, Inc.; CVS TN
Distribution, L.L.C.; Walgreens Boots Alliance, Inc.; Walgreen Co.; (collectively, “Distributor
Defendants”); Express Scripts Holding Company; Express Scripts, Inc.; CVS Health Corporation
(in its pharmacy benefit management capacity); Caremark Rx, L.L.C.; CaremarkPCS Health,
L.L.C. d/b/a CVS/Caremark; Caremark, L.L.C.; UnitedHealth Group Incorporated; Optum, Inc.;
OptumRx Inc.; (collectively, “PBM Defendants”); and DOES | through 100 inclusive
(collectively, “Defendants”) alleges as follows:

I. INTRODUCTION

1, Defendants have caused an opioid epidemic that has resulted in economic, social

and emotional damage to tens of thousands of Americans throughout virtually every community

in the United States. It is indiscriminate and ruthless. It has impacted across demographic lines,
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harming every economic class, race, gender and age group. It is killing Americans, more than 134
people every day.! Prescription and illegal opioids account for more than sixty percent (60%) of
overdose deaths in the United States, a toll that has quadrupled over the past two decades,
according to the United States Centers for Disease Control and Prevention (“CDC”). More people
died from opioid-related causes in 2016 than from car accidents or guns.* In 2016 more than one
hundred seventy-five (175) people died every day from drug overdoses, comparable to an airplane
crashing, killing everyone on board, every day.’ In 2017, the number rose to over one hundred
ninety-seven (197), the increase largely due to synthetic opioids.°

2. According to the CDC, the costs of healthcare, lost productivity, addiction
treatment, and criminal justice involvement due to opioid misuse alone is $78.5 billion a year.®

3. Prescription drug manufacturers, wholesalers/distributors, and pharmacy benefit
managers (“PBMs”) have created this epidemic. The manufacturers make the opioids and lie about
their efficacy and addictive properties. The wholesalers distribute the opioids from the point of
manufacture to the point of delivery to the patient. And the PBMs control, through their pharmacy

plan design and formulary management, which drugs go where and how they are paid for.

 

' See NIH, Overdose Death Rates, NATIONAL INSTITUTE ON DRUG ABUSE, Rev. Aug. 2018,
https://www.drugabuse. gov/related -topics/trends-statistics/overdose-death-rates (estimating more than 49,000 opioid
related deaths in 2017).

* Deaths from Opioid Overdoses Now Higher Than Car Accident Fatalities, HEALTHLINE, March 30, 2018,
https://www.healthline.com/hea!th-news/deaths-from-opioid-overdoses-higher-than-car-accident-fatalities# |

* Bthan Siegal, Opioid Epidemic So Dangerous, Says CDC, It's Finally Killing As Many Americans As Guns, FORBES,
March 20, 2018, https://www. forbes.com/sites/startswithabang/20 | 8/03/20/opioid-epidemic-so-dangerous-savs-cdc~
its-finally-killing-as-many-americans-as-guns/#3215256f6c2 |

* Jerry Mitchell, With 175 Americans dying a day, what are the solutions to the opioid epidemic? USA TODAY
NETWORK, Jan. 29, 2018, https://www-usatoday.com/story/news/nation-now/20 18/0 1/29/175-americans-dvine-day-
what-solutions-opioid-epidemic/1074336001/

> NIH, Overdose Death Rates, supra note 1.

° NIH, Opioid Overdose Crisis, NATIONAL INSTITUTE ON DRUG ABUSE, Rev. March 2018,
https://www.drucabuse. gov/drugs-abuse/opioids/opioid-overdose-crisis#two
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4, Each defendant group profits enormously from the movement of opioid products.
Each has incentives to move certain drugs over others. Defendants themselves create the incentives
and share in their perversity — usually without disclosure to those who reasonably rely on
Defendants to abide by their federal, state and common law duties. They do so at the expense of
Plaintiff and communities like it nationwide.

3. Each defendant group bears culpability in the crisis and is a necessary party to
addressing the damage it has wreaked, including the costs of abatement.

6. The devastating impact of opioid abuse cannot be overstated. After years of
decreasing death rates in the United States, they are now on the rise fueled by an increase in opioid-
related drug overdose deaths. Drug overdoses are now the leading cause of death for Americans
under the age of fifty (50). The number of Americans who died of drug overdose deaths in 2017
was roughly equal the number of Americans who died in the Vietnam, Iraq, and Afghanistan wars
combined.’

7. Montgomery County has been hit particularly hard by the opioid epidemic. For
example, the rate of neonatal abstinence syndrome (NAS) in Montgomery County has been higher
than the statewide rate in Virginia during the entire course of the opioid epidemic.’ The NAS rate
peaked in 2014 at more than three times higher than the statewide rate, and has remained

significantly higher than the statewide rate.’ Perhaps even more disturbingly, the rate of overdose

 

’ Nicholas Kristof, Opioids, a Mass Killer We're Meeting With a Shrug, NEW YorK TIMES, Jun. 22, 2017,
https://www.nytimes.com/20 1 7/06/22/opinion/opioid-epidemic-health-care-billL. htm!

§ VIRGINIA. DEPARTMENT OF HEALTH, VIRGINIA OPIOID ADDICTION INDICATORS (2016),
https://public. tableau.com/views/VirginiaOpioidAddiction| ndicators/V AOpioid AddictionIndicators?:embed=y&:dis
plav_count=yes&:showVizHome=no

° Ie.
Case 7:18-cv-00619-EKD Document-1-1 Filed 12/13/18 Page 7 of 60 Pageid#: 27

deaths in Montgomery County has steadily risen from 4 to 5.9 deaths per 100,000 people in 1999
to 14 to 15.9 deaths per 100,000 people in 2016.'°

8. The acute opioid problem in Montgomery County reflects the overwhelming
epidemic affecting the entire Commonwealth. In 2016, Virginia’s state health commissioner
declared the state’s opioid addiction problem a public health emergency. On average, three
Virginians die of a drug overdose and over two dozen are treated in emergency departments for
drug overdoses each day.'! Fatal drug overdoses in the first half of 2016 increased by 35%
compared to the same period in 2015.'? More Virginians die each year from drug overdoses than
motor vehicle accidents. !

9. Defendants’ opioid-related misconduct drives heroin abuse. A 2015 study found
that four out of five heroin users reported that their addiction started with opioid pain relievers.'4
In this way, prescription opioids — now, thanks to Defendants, provided to patients for everyday
conditions such as knee pain, headaches, and dental pain — can operate as a “gateway” drug to
heroin use and involvement with the illegal drug market,

10. In addition, Montgomery County is now having to allocate substantial taxpayer

dollars, resources, staff, energy and time to address the damage the opioid scourge has left in its

wake and to address its many casualties. The County’s costs for incarceration and correction

 

'° Centers for Disease Control and Prevention Drug Poisoning Mortality Rates in the United States, 1999-2016,
https://www.cde.gov/nchs/data-visualization/drug-poisoning-mortalitv/,

' Dr. Melissa Levine, State Health Commissioner Telebriefing on Opioid Addiction Public Health Emergency (Nov.
21, 2016) (transcript available at http://www.vdh.virginia.gov/commissioner/opioid-addiction-in-virginia/).

12 Id.

'? Andrew Barnes and Katherine Neuhausen, Virginia Commonwealth University School of Medicine, “The Opioid
Crisis Among Virginia Medicaid Beneficiaries,” https://hbp.vcu.edu/media/hbp/policybriefs/pdfs/Senate Ovioid
CrisisPolicyBrief Final. pdf

' NaT’L SAFETY COUNCIL, PRESCRIPTION NATION 2016: ADDRESSING AMERICA’S DRUG EPIDEMIC 9 (2016),
http://www.nsc.org/RxDrugOverdoseDocuments/Prescription-Nation-20 16-American-Drug-Enidemic.pdf
Case 7:18-cv-00619-EKD Document1-1 Filed 12/13/18 Page 8 of 60 Pageid#: 28

services base increased in recent years due to an increasing crime rate attributable to the opioid
epidemic. The costs that the County has borne for foster care and other child placement services
have similarly increased due to the increasing number of children who need such services because
opioid addiction has destroyed the structure of their families. Fire and emergency medical services
are over-utilized because of an increased number of opioid-related overdoses. The burden on law
enforcement is substantially increased by opioid-related crimes related to prescription opioid theft,
diversion, and sales on the black market. Courts, social workers, nurses, schools, intervention
programs, and clinics have all been harmed. Nearly every aspect of Montgomery County’s budget
has been significantly and negatively impacted by this Defendant-made epidemic.

Il. Defendants’ efforts to deceive and make opioids widely accessible have also
resulted in a windfall of profits. Opioids are now the most prescribed class of drugs; they generated
$11 billion in revenue for drug companies in 2014 alone. While Americans represent only five

_ percent (5%) of the world’s population, they consume eighty percent (80%) of the world
production of prescription opioids.!>

12. The side effects of opioid use have provided even more profits for drug
manufacturers. For example, television airwaves are now flooded with advertisements for
remedies for the most common opioid-related side effect, opioid-induced constipation, which

increases a long-term opioid user’s healthcare costs by over $10,000. '°

 

'S Dina Gusovsky, Americans Consume Vast Majority of the World’s Opioids, CNBC, Apr. 27, 2016 9:13 AM,
http:/Awww.cnbe.coni/2016/04/27/americans-consume-almost-all-of-the-global-opioid-supply.html

'§ Yin Wan, Shelby Corman, Xin Gao, Sizhu Liu, Haridarshan Patel, Reema Mody , Economic Burden of Opioid-
Induced Constipation Among Long-Term Opioid Users with Noncancer Pain, AM HEALTH DRUG BENEFITS. 2015
Apr; 8(2): 93-102, https://www.ncbi.nlm.nih eov/pme/articles/PMC4437482/
Case 7:18-cv-00619-EKD Docyment.1-1 Filed 12/13/18 Page 9of60 Pageid#: 29

13. The recipe for generating sky-high revenues is clear: patients who are prescribed
opioids become physically and psychologically dependent on the drugs. When these opioid-
addicted patients can no longer legally obtain opioids, they seek the drugs on the black market or
turn to heroin which provides a similar high to prescription opioids. Defendants have generated a
loyal customer base: hundreds of thousands of patients whose addiction guarantees an insatiable
demand for the drugs and consistently high profits.

14. The scheme began with Manufacturer Defendants, who deliberately polluted the
national marketplace, including in Montgomery County, with lies and misinformation about the
efficacy of opioids to treat chronic pain and the risks of addiction. Using hired guns, advertising
and marketing materials, the Manufacturers promoted the fictitious concept of “pseudoaddiction,”
advocated that signs of addiction should be treated with more opioids, falsely claimed that opioid
dependence and withdrawal could be easily managed and denied the risks of higher and protracted
opioid dosages.

15. Wholesale distributors, such as the Distributor Defendants, could have and should
have been able to stem the excess flow of opioids into Virginia and Montgomery County, but they
did not. Wholesale drug distributors receive prescription opioids from drug manufacturers and
transfer the opioids to hospitals, pharmacies, doctors, and other healthcare providers who then
dispense the drugs to patients. Distributors are required by federal and state law to control and
report unlawful drug diversions. The Distributor Defendants deliberately ignored these
responsibilities, lobbied for higher reporting thresholds and pocketed profits at the expense of
Montgomery County.

16. | The Manufacturer and Distributer Defendants’ efforts to promote their scheme to

distribute unnecessary opioids were purposefully facilitated by pharmacy benefit managers
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(“PBMs) who ensured that opioids were paid for, reimbursed, or covered by public and private
payors through their pharmacy benefit plans.

17. PBMs are the gatekeepers to the vast majority of opioid prescriptions filled in the.
United States. Caremark, Express Scripts, and OptumRx (all named defendants here) manage the
drug benefits for approximately eighty-nine percent of the market, or 238 million lives.'? PBMs
design prescription drug benefit programs and create formularies which set the criteria and terms
under which pharmaceutical drugs are reimbursed. They also determine numbers of refills
permitted, number of pills per prescription, pre-authorization requirements, generic and branded
drug co-pay amounts, and other criteria. PBMs thereafter commit to monitor their customers’
utilization, manage drug plans and overall employee wellbeing. In these ways, PBMs tout their
ability to control and manage overall prescription drug utilization.

18. Because PBMs are the intermediary between drug manufacturers, pharmacies, and
ultimately patients, these companies control everything from pharmacy reimbursements to what
drugs are covered under formularies.'* In these ways, the PBMs influence which drugs enter the
marketplace. Their fingerprints are on nearly every opioid prescription filled and they profit in
myriad ways on every pill.

19, Virginia and Montgomery County have experienced a significant spike in opioid-

related abuse and deaths in recent years. The CDC found that Virginia was one of the states with

 

‘7 NATIONAL COMMUNITY PHARMACISTS ASSOCIATION, PB Resources, http://www.ncpanet.org/advocacy/the-
tools/pbm-resources (last visited Sept. 8, 2018).

'§ Matthew Kandrach, PBM stranglehold on prescription drug market demands reform, THE HI.L, May 2, 2017,
http://theh ill. com/blogs/pundits-blog/healthcare/33 160 |-pbm-stranelehold-on-prescription-drug-market-demands-
reform ;
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a statistically significant increase in drug overdose death rates from 2015 to 2016.'? The CDC
estimated that 1,405 people died from drug overdoses in Virginia in 2016.?°

20. Accordingly, Plaintiff brings this action to recover damages and costs it has
incurred as a result of the prescription drug abuse problem in Montgomery County. Plaintiff seeks
to recover those costs and damages from the Defendants because they are the entities that have
substantially contributed to and profited from the scourge of opioid abuse in Montgomery County.

21. Plaintiff also seeks an order compelling the abatement and removal of the public
nuisance the Defendants have created, knew their misconduct would likely create and from which
they profited, by ceasing their unlawful promotion, distribution, reimbursement and sale of
opioids, as well as treble damages, punitive damages and attorneys’ fees and costs in addition to
granting any other equitable relief authorized by law.

fl. VENUE AND JURISDICTION

22. This Court has subject matter jurisdiction over this matter pursuant to Virginia
Code § 17.1-513.

23. This Court has personal jurisdiction over Defendants pursuant to Virginia Code §
8.01-328.1 because they conduct business in Virginia, purposefully direct or directed their actions
toward Virginia, caused tortious injury in Virginia, consented to be sued in Virginia by registering
an agent for service of process, and/or consensually submitted to the jurisdiction of Virginia when
obtaining a manufacturer or distributor license and have the requisite minimum contacts with

Virginia necessary to constitutionally permit the Court to exercise jurisdiction.

 

'° Drug Overdose Death Data, CENTERS FOR DISEASE CONTROL AND PREVENTION, last updated Dec. 19, 2017,
https://www.cdc.gov/drugoverdose/data/statedeaths.html|
20 Ia.
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24. Venue is proper in this Court pursuant to Virginia Code § 8.01-262 in that the
Defendants regularly conduct substantial business activity in Montgomery County, Virginia and
the causes of action alleged herein arose in Montgomery County, Virginia.

25. Defendants are regularly engaged in the business of manufacturing, marketing,
distributing, dispensing and reimbursing prescription opioids in Virginia and, specifically, in
Montgomery County, including to Montgomery County’s own current and former employees,
Defendants’ activities in Montgomery County in connection with the manufacture, marketing,
distribution, dispensation and reimbursement of prescription opioids was, and is, continuous and
systematic, and gives rise to the causes of action alleged herein.

I. PARTIES
A. PLAINTIFF

26. Montgomery County is a political subdivision of the Commonwealth of Virginia.

27. Montgomery County derives its governmental powers from the laws of the
Commonwealth of Virginia.

B. MANUFACTURER DEFENDANTS

28. Defendant, PURDUE PHARMA, L.P., is a limited partnership organized under the
laws of Delaware. Defendant, PURDUE PHARMA, INC., is a New York corporation with its
principal place of business in Stamford, Connecticut, and Defendant, THE PURDUE
FREDERICK COMPANY, INC., is a Delaware corporation with its principal place of business in
Stamford, Connecticut.

29. PURDUE PHARMA, L.P. may be served through its registered agent: The
Prentice-Hall Corporation System, Inc., 2711 Centerville Road, Suite 400, Wilmington, Delaware

19808. PURDUE PHARMA INC. may be served through its registered agent: The Prentice-Hall
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Corporation System, -Inc., 80 State Street, Albany, New York 12207. THE PURDUE
FREDERICK COMPANY may be served through its registered agent: The Prentice-Hall
Corporation System, Inc., 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

30. PURDUE PHARMA, L.P., PURDUE PHARMA, INC., and THE PURDUE
FREDERICK COMPANY, INC. are referred to collectively as “Purdue.”

31. In Virginia and nationally, Purdue is engaged in the manufacture; promotion, and
distribution of opioids, including: (a) OxyContin (oxycodone hydrochloride extended release), a
Schedule II opioid agonist tablet first approved in 1995 and marketed by Purdue for the
“management of pain severe enough to require daily, around-the-clock, long-term opioid treatment
and for which alternative treatment options are inadequate.” OxyContin was indicated, or legally
approved, for the “management of moderate to severe pain when a continuous, around-the-clock
opioid analgesic is needed for an extended period of time”; and (b) MS-Contin (morphine sulfate
extended release), a Schedule II opioid agonist tablet first approved in 1987 and indicated for the
“management of pain severe enough to require daily, around-the-clock, long-term opioid treatment
and for which alternative treatment options are inadequate.”

32. OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s national annual
sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up almost four-fold
from 2006 sales of $800 million. OxyContin constitutes roughly thirty percent (30%) of the entire
market for analgesic drugs (painkillers).

33. In 2007, Purdue settled criminal and civil charges against it for misbranding
OxyContin and agreed to pay the United States $635 million. At the time, this was one of the
largest settlements with a drug company for marketing misconduct. Purdue’s misconduct has

continued, as alleged herein, settlement notwithstanding.

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34. Purdue transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit. Purdue hires employees to service the Virginia
market. For example, Purdue recently advertised online that it was seeking a Territory Business
Manager to operate out of Bristol, Virginia, and another Territory Business Manager to operate
out of Richmond South, Virginia.?! On information and belief, Purdue also directs advertising and
informational materials to impact Virginia physicians and potential users of Purdue products.
Purdue possesses a Virginia out-of-state manufacturer license.

35, Purdue also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $23.8 million on Purdue’s opioids. This
represents approximately 18% of total Virginia Medicaid reimbursements for opioids during that
time period.??_ These reimbursements represent only a fraction of the total earned by Purdue from
its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Purdue’s ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

36. Defendant, RHODES PHARMACEUTICALS, L.P. (“Rhodes”) is a Delaware
limited partnership owned by the Sackler family, who also own Purdue Pharma LP. The Sacklers
created Rhodes in 2007, four months after Purdue pleaded guilty to federal criminal charges that

it had mis-marketed OxyContin.

 

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VDtFMKHUg2CakQOiYsCCCkoAA#fpstate=tldetail &htidocid=7cre6THeWHBTITY AAAAAA%3D%3DEhtivrt=j
abs

2 State Medicaid Drug Utilization Data, Centers for Medicaid and CHIP Services (CMS),
hitps://www.medicaid.gov/medicaid/ prescription-drugs/state-drug-utilization-data/index.htin|
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37. | Rhodes has its principal place of business in Coventry, Rhode Island. Rhodes may
be served through its registered agent: Corporation Service Company, 251 Little Falls Drive,
Wilmington, Delaware 19808.

38. Rhodes is presently among the largest producers of off-patent generic opioids in
the U.S.”? Together with Purdue, Rhodes accounted for 14.4 million opioid prescriptions in 2016,
or 6% of the US Opioid market.”4

39, | Upon information and belief, Rhodes manufactures, promotes, distributes and/or
sells opioids nationally, in Virginia, and in Montgomery County, including many controlled
substances such as oxycodone, morphine sulfate, hydrocodone and hydromorphone.

40. Rhodes benefits from reimbursements by the Virginia Medicaid program. Between
2006 and 2017, Virginia Medicaid spent over $3.6 million on Rhodes’ opioids. This represents
approximately 3.68% of total Virginia Medicaid reimbursements for opioids during that time
period.”” These reimbursements represent only a fraction of the total earned by Rhodes from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Rhodes’ ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

4}, Defendant, ABBOTT LABORATORIES, is an Illinois corporation with its
principal place of business in Abbott Park, Illinois. Defendant, ABBOTT LABORATORIES,

INC,, is an Illinois corporation with its principal place of business in Abbott Park, I!linois.

 

® David Crow, Billionaire Sackler family owns second opioid drugmaker, FINANCIAL TIMES, Sept. 9, 2018,
https://www. ft.com/content/2d2 lefia-b2be- 1 1e8-99ca-68cf89602 132

24 Id.
* State Medicaid Drug Utilization Data, supra note 22.

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42. ABBOTT LABORATORIES and ABBOTT LABORATORIES, INC. are both
registered to do business in Virginia and have been since at least October 4, 2013. Both may be
served in Virginia through their registered agent: The Corporation Service Company, 4701 Cox
Road, Suite 285, Glen Allen, Virginia.

43. Defendants ABBOTT LABORATORIES and ABBOTT LABORATORIES, INC.
are referred to collectively as “Abbott.”

44. Abbott was primarily engaged in the promotion and distribution of opioids
nationally due to a co-promotional agreement with Defendant Purdue. Pursuant to that agreement,
between 1996 and 2006, Abbott actively promoted, marketed, and distributed Purdue’s opioid
products as set forth above.

45. Abbott, as part of the co-promotional agreement, helped make OxyContin into the
largest selling opioid in the nation. Under the co-promotional agreement with Purdue, the more
Abbott generated in sales, the higher the reward. Specifically, Abbott received twenty-five to thirty
percent (25-30%) of all net sales for prescriptions written by doctors its sales force called on. This
agreement was in operation from 1996-2002, following which Abbott continued to receive a
residual payment of six percent (6%) of net sales up through at least 2006.

46. With Abbott’s help, sales of OxyContin went from a mere $49 million in its first
full year on the market to $1.6 billion in 2002. Over the life of the co-promotional agreement,
Purdue paid Abbott nearly half billion dollars.

47. Abbott transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit. Abbott hires employees to service the Virginia
market. For example, Abbott recently advertised online that it was seeking a Laboratory

Technician for Richmond, Virginia, a Coronary Account Manager for Charlottesville, Virginia,

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and a Territory Representative for Mexmnditn Virginia.2° On information and belief, Abbott also
directs advertising and informational materials to impact Virginia physicians and potential users
of Abbott products.

48. Abbott and Purdue’s conspiring with PBMs to drive opioid use is documented. As
described in an October 28, 2016 article from Psychology Today entitled America’s Opioid
Epidemic:

Abbott and Purdue actively misled prescribers about the strength and safety
of the painkiller [OxyContin]. To undermine the policy of requiring prior
authorization, they offered lucrative rebates to middlemen such as Merck
Medco [now Express Scripts, a defendant herein] and other pharmacy
benefits managers, on condition that they eased availability of the drug and
lowered co-pays. The records were part of a case brought by the state of
West Virginia against both drug makers alleging inappropriate and illegal
marketing of the drug as a cause of widespread addiction. ... One reason
the documents are so troubling is that, in public at least, the drug maker was
carefully assuring authorities that it was working with state authorities to
curb abuse of OxyContin. Behind the scenes, however, as one Purdue
official openly acknowledged, the drug maker was “working with Medco
(PBM) [now defendant Express Scripts] to try to make parameters [for
prescribing] less stringent,’

49, Upon information and belief, Abbott’s and Purdue’s practices with Medco (now
Defendant Express Scripts (as defined below)), were not confined to West Virginia and has caused
injury nationwide, including in Montgomery County.

50. Indeed, PBM giant Express Scripts appears to have played a particularly critical

role in facilitating and preserving market growth for OxyContin. From at least 2003, it has

 

26 https://www. google.com/search?safe=active&ei=wuSiWqjaEo3azwLA-6 oCw&q=ABBOTT+LABORATORIES
+jobs+virginia&og=ABBOTT+LABORATORIES+iobs+virginia&es l=psy-ab.3...64303.67196.0,67351.15.10,0.0,
0.0,584.1084.5-2.2.0....0...1.1,.64.psy-ab..13.2.1083..,0j0i22i30k 1,0. VIUSOZ7IGPO&ibp=htl:jobs&sa=% & ved=Oah
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*7 American Society of Addiction Medicine, America's Opioid Epidemic ~ Court released documents show arug
makers blocked efforts to curb prescribing, PSYCHOLOGY TODAY, Oct. 28, 2016, https://www.psychologytoday.com/
blog/side-effects/20 16 10/america-s-opioid-epidemic

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maintained the brand drug OxyContin as an approved reimbursable drug on Express Scripts’
formularies. Express Scripts imposed no pre-authorization requirements or quantity limits on
OxyContin prescriptions until 2013 at the earliest.

51. | Express Scripts also facilitated reimbursement of MS-Contin, which similarly
appears not to have had pre-authorization requirements before those imposed by Medicare in 2013
and often had preferred tier placement.

52. All of the foregoing was pursuant to agreements between Purdue and Express
Scripts that set forth the terms of Express Scripts services to Purdue and how it would be paid by
Purdue.

53. | PBM Defendant Caremark (as defined below) also facilitated OxyContin’s market
position throughout the relevant time period. For most, if not all, of the relevant times hereto, on
information and belief, Caremark maintained OxyContin as a reimbursable drug on its formulary.
Caremark imposed no pre-authorization requirements or quantity limits on OxyContin
prescriptions until 2014 at the earliest. Caremark also facilitated reimbursement of MS-Contin,
which similarly appears not to have had pre-authorization requirements or quantity limits on
prescriptions before those imposed by Medicare in 2013.

54. The foregoing treatment of OxyContin reimbursement was pursuant to agreements
between Purdue and Caremark that set forth the terms of Caremark services to Purdue and how it
would be paid by Purdue.

55. | PBM Defendant OptumRx (as defined below) also facilitated OxyContin and MS-
Contin’s market growth. At all times relevant hereto, on information and belief, both were
approved drugs on OptumRx’s formulary.

56. Defendant, MALLINCKRODT PLC, is an Irish public limited company with its

corporate headquarters in Staines-upon-Thames, United Kingdom. MALLINCKRODT PLC may

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be served through its registered agent in the United States: CT Corporation System, 120 South
Central Avenue, Suite 400, Clayton, Missouri 63105.

57. Defendant, MALLINCKRODT LLC, is a wholly owned subsidiary of
MALLINCKRODT PLC and is a Delaware limited liability company with its principal place of
business in St. Louis, Missouri. MALLINCKRODT LLC is registered to do business in Virginia
and has been since at least October 4, 2013. Mallinckrodt LLC may be served in Virginia through
its registered agent: CT Corporation System, 4701 Cox Road, Suite 285, Glen Allen, Virginia
23060.

58. MALLINCKRODT PLC and MALLINCKRODT LLC are referred to collectively
as “Mallinckrodt.”

59. In Virginia and nationally, Mallinckrodt is engaged in the manufacture, promotion,
and distribution of Roxicodone, oxycodone, and hydrocodone, among other drugs. Mallinckrodt
transacts business in Virginia, targeting the Virginia market for its products, including the opioids
at issue in this lawsuit, which Mallinckrodt has sold in Virginia. On information and belief,
Mallinckrodt hires employees to service the Virginia market and also directs advertising and
informational materials to impact Virginia physicians and potential users of Mallinckrodt products.

60. Mallinckrodt also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $36.1 million on Mallinckrodt’s opioids.
This represents approximately 32.23% of total Virginia Medicaid reimbursements for opioids
during that time period.?8 These reimbursements represent only a fraction of the total earned by
Mallinckrodt from its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA

ARCOS data that will provide substantially greater transparency into Mallinckrodt’s ill-gotten

 

*8 State Medicaid Drug Utilization Data, supra note 22.

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gains and the harm caused in Virginia through improper public and commercial opioid
reimbursements,

61. Atal! times relevant hereto, the PBM Defendants listed the brand drug Roxicodone
or its generic alternative oxycodone as approved reimbursable drugs on their formularies. They
imposed no pre-authorization requirements or quantity limits on prescriptions until] 2014 at the
earliest.

62. Defendant, ENDO HEALTH SOLUTIONS, INC., is a Delaware corporation with
its principal place of business in Malvern, Pennsylvania. Defendant, ENDO
PHARMACEUTICALS, INC., is a wholly owned subsidiary of ENDO HEALTH SOLUTIONS,
INC. and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

63. ENDO HEALTH SOLUTIONS, INC. may be served through its registered agent:
The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801. ENDO PHARMACEUTICALS, INC. may be served through its registered
agent, The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,
Wilmington, Delaware 19801.

64. Defendant PAR PHARMACEUTICAL COMPANIES, INC. (“Par Pharmaceutical
Cos.”) is a Delaware corporation, having a principal place of business in Chestnut Ridge, New
York. On information and belief, Par Pharmaceutical Cos. is a holding company and is a wholly-
owned subsidiary, directly or indirectly, of Endo International ple.

65, Defendant, PAR PHARMACEUTICAL, INC. (‘Par Pharmaceutical”) is a New
York corporation, having a principal place of business located in Chestnut Ridge, New York. On
information and belief, Par Pharmaceutical is a wholly-owned subsidiary of Par Pharmaceutical

Cos, and holds itself out as “an Endo International Company.” Par Pharmaceutical is licensed and
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has been licensed as a non-resident distributor with the Virginia Department of Health Professions
since 2005.

66. Par Pharmaceutical Cos. may be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801. Par Pharmaceutical may be served through its registered agent: CT Corporation
System, 111 Eight Avenue, 13" Floor, New York, New York 10011.

67. | Par Pharmaceutical and Par Pharmaceutical Cos. are referred to collectively as
“Pas.

68. ENDO HEALTH SOLUTIONS, INC., ENDO PHARMACEUTICALS, INC. and
Par are, at times, referred to collectively as “Endo”.

69. Endo develops, markets, and sells prescription drugs, eroluding the opioids
Opana/Opana ER, Percodan, Percocet, and Zydone, throughout the United States, including
Virginia. Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in 2012.
Opana ER yielded $1.15 billion in revenue from 2010 to 2013, and it accounted for ten percent
(10%) of Endo’s total revenue in 2012. Endo, by itself and through its subsidiary, Qualitest
Pharmaceuticals, Inc., also manufactures and sells generic opioids such as oxycodone,
oxymorphone, hydromorphone, meperidine, and hydrocodone products across the United States,
including Virginia.

70. Par develops, markets, and sells prescription drugs including the brand opioid
Endocet and generic opioids consisting of oxycodone, oxymorphone, hydrocodone, morphine
sulfate, and fentany! citrate, throughout the United States, including Virginia.

71. Endo transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit. Endo hires employees to service the Virginia market.

For example, Endo recently posted online that it was seeking a Specialty Sales Consultant to work .

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out of its Richmond, Virginia location.?? On information and belief, Endo also directs advertising
and informational materials to impact Virginia physicians and potential users of Endo products.

72, Endo also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $25.5 million on Endo’s opioids. This
represents approximately 18% of total Virginia Medicaid reimbursements for opioids during that
time period.*° These reimbursements represent only a fraction of the total earned by Endo from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Endo’s ill-gotten gains and the harm caused in
Virginia through improper public and commercial opioid reimbursements.

73. Defendant, TEVA PHARMACEUTICALS USA, INC. (“Teva USA”), is a
Delaware corporation with its principal place of business in North Whales, Pennsylvania and is a
wholly owned subsidiary of Teva Pharmaceutical Industries, Ltd., (“Teva Ltd.”), an Israeli
corporation.

74, Defendant, CEPHALON, INC. (“Cephalon”), is a Delaware corporation with its
principal place of business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

79: Defendant, BARR LABORATORIES, INC. (“Barr”), is a Delaware corporation
with its principal place of business in Horsham, Pennsylvania. In 2008, Teva Ltd. acquired Barr.

76. Teva USA has a Virginia taxpayer number and may be served through its registered
agent; Corporate Creations Network Inc., 3411 Silverside Road Tatnall Building, Suite 104,

Wilmington, Delaware 19810. Cephalon. may be served at 41 Moores Road, Frazer, Pennsylvania

 

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&htidocid=J6XwduK DNIT-vHtgAAAAAA%3D%3 D&htivrt=jobs

%° State Medicaid Drug Utilization Data, supra note 22.

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19355. Barr is registered to do business and Virginia may be served in Virginia through its
registered agent: Corporate Creations Network Inc., 6802 Paragon Place Suite 410, Richmond,
Virginia 23230.

77, Teva USA, Cephalon and Barr are referred to collectively as “Teva”

78. Teva manufactures, promotes, distributes and sells both brand name and generic
versions of opioids nationally, and in Montgomery County, including the following: (a) Actiq, and
(b) Fentora. Teva also was in the business of selling generic opioids, including morphine,
hydromorphone, tramadol, codeine, and meperidine from at least 2000, and a generic form of
OxyContin from 2005 to 2009, among others.

79. Teva transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit. Barr hires employees to service the Virginia market,
and operates a manufacturing plant in Lynchburg, Virginia. On information and belief, Teva also
directs advertising and informational materials to impact Virginia physicians and potential users
of their products,

80. Teva also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $1.6 million on Teva’s opioids. This
represents approximately 1.3% of total Virginia Medicaid reimbursements for opioids during that
time period?! These reimbursements represent only a fraction of the total earned by Teva from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Teva’s ill-gotten gains, and the harm caused in

Virginia through improper public and commercial opioid reimbursements.

 

*! State Medicaid Drug Utilization Data, supra note 22,

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81. At all times relevant hereto, PBM Defendant OptumRx listed both Actiq and
Fentora as approved reimbursable brand drugs on its formularies. In many years, the products had
preferred brand status.

82. Each PBM defendant included Teva’s generic opioids on their formularies as
approved drugs. OptumRx did not impose any quantity limits or pre-authorization requirements
for the generic Teva OxyContin.

83. Defendant, JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania
corporation with is principal place of business in Titusville, New Jersey. JANSSEN
PHARMACEUTICALS, INC. was formerly known as ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC., which in turn was formerly known as JANSSEN
PHARMACEUTICA, INC.

84. Defendant, ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now
known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its
principal place of business in Titusville, New Jersey.

85. Defendant, JANSSEN PHARMACEUTICA, INC., now known as JANSSEN
PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business
in Titusville, New Jersey.

86. JANSSEN PHARMACEUTICALS, INC. may be served at 1125 Trenton-
Harbourton Road, Titusville, New Jersey 08560.

87. JANSSEN PHARMACEUTICALS, INC., ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC, and JANSSEN PHARMACEUTICA, INC. are collectively
referred to as “Janssen.”

88. | Janssen is or has been engaged in the manufacture, promotion, distribution, and sale

of opioids nationally and in Montgomery County, including the following: (a) Duragesic, (b)

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Nucynta and (c) Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in
sales in 2014. Prior to 2009, Duragesic accounted for at least $1 billion in annual sales,

89. Janssen transacts business in Virginia, targeting the Virginia market for its
products, including the opioids at issue in this lawsuit. Janssen hires employees to service the
Virginia market. For example, Janssen recently advertised online that it was seeking a District
Manager to operate out of Arlington, Virginia.*? On information and belief, Janssen also direct
advertising and informational materials to impact Virginia physicians and potential users of their
products.

90. Janssen also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $5.1 million on Janssen’s optoids. This
represents approximately 3,8% of total Virginia Medicaid reimbursements for opioids during that
time period.?? These reimbursements represent only a fraction of the total earned by Janssen from
its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Janssen’s ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

91, | PBM Defendant OptumRx has routinely listed Janssen’s Duragesic as an approved
reimbursable brand drug on its formularies, alien with preferred brand status and without pre-
authorization requirements. It has also reimbursed for the Nucynta products, again without pre-

authorization requirements and with preferred brand status,

 

32 https://www.google.com/search?safe=actived&kei=Keui Wtb-D4mxzwKk Te6CoCw&q=janssen+jobs+virginia&
og=janssen+jobstvirginia&es |=psy-ab.3...23190,24380.0.25837.7.7.0.0.0.0.5 1 1.948.0j1j1j5-1.3.0..,.0...1.1.64.psy-
ab..5,1,242.,.017130k 1 j0i8i7i30k1.0.Z90evDVY bek &ibp=htl:jobs&sa=xX & ved=NahUK EwjKkos5GxieDZAhWOtIMK

HbsID8wOrYsCCCkoAAfMpstate=tldetail&htidocid=kZ61d5_ IbdmdWVOxAAAAAA%3D%3D&htivrt=iobs

33 State Medicaid Drug Utilization Data, supra note 22.

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92. | PBM Defendant Express Scripts has listed Janssen’s Nucynta and Nucynta ER as
approved reimbursable brands on its formulary without quantity limits or preauthorization
requirements.

93. PBM Defendant Caremark also has listed Duragesic and Nucynta products as
approved brands on its formularies without prior authorization requirements.

94, Defendant, WATSON LABORATORIES, INC., is a Nevada corporation with its
principal place of business in Corona, California, and is a wholly owned subsidiary of Defendant, °
ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.), a public limited
company incorporated under the laws of the State of Ireland with its headquarters and principal
place of business in Dublin, Ireland.

95. Defendant, ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware
corporation with its principal place of business in New J ersey and was formerly known as Watson
Pharma, Inc.

96. Defendant, ACTAVIS, LLC, is a Delaware limited liability company with its
principal place of business in Parsippany, New Jersey.

97. Each of these defendants is owned by Defendant, ALLERGAN PLC, which uses
them to market and sell its drugs in the United States. Upon information and belief, ALLERGAN
PLC exercises control over these marketing and sales efforts and profits from the sale of
Allergan/Actavis products ultimately inure to its benefit.

98. WATSON LABORATORIES, INC. may be served through its registered agent:
Corporate Creations Network Inc., 8275 South Eastern Avenue, #200, Las Vegas, Nevada 89123,
ACTAVIS, LLC may be served through its registered agent: Corporate Creations Network Inc.,
3411 Silverstde Road Tatnall Building, Suite 104, Wilmington, Delaware 19810. ACTAVIS

PHARMA, INC. is registered to do business in Virginia may be served in Virginia through its

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registered agent: Corporate Creations Network Inc., 6802 Paragon Place #410, Richmond, Virginia

23230),

99. ALLERGAN PLC, ACTAVIS LLC, ACTAVIS PHARMA, INC., and WATSON
LABORATORIES, INC. are collectively referred to as “Actavis.”

100. Actavis manufactures, promotes, sells and distributes opioids, including the
branded drugs Kadian and Norco, and generic versions of Duragesic and Opana throughout the
United States, including Virginia, and in Montgomery County. Actavis acquired the rights to
Kadian from King Pharmaceuticals, Inc. on December 30, 2008 and began marketing Kadian in
2009.

101. Actavis transacts business in Virginia, targeting the Virginia market for its
products, including the opioids at issue in this lawsuit. Actavis hires employees to service the
Virginia market. For example, Actavis recently advertised online that it was seeking a
Pharmaceutical Sales Representative to operate out of Manassas, Virginia. Actavis also direct
advertising and informational materials to impact Virginia physicians and potential users of their
products.

102. Actavis also benefits from reimbursements by the Virginia Medicaid program,
Between 2006 and 2017, Virginia Medicaid spent over $8.5 million on Actavis’ opioids. This
represents 9.04% of total Virginia Medicaid reimbursements for opioids during that time period.*4
These reimbursements represent only a fraction of the total earned by Actavis from its opioid
distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that will
provide substantially greater transparency into Actavis’ ill-gotten gains and the harm caused in

Virginia through improper public and commercial opioid reimbursements.

 

* State Medicaid Drug Utilization Data, supra note 22.

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103. Atall times relevant hereto, the PBM Defendants listed Actavis’s opioid products
as approved reimbursable drugs on their formularies, often without any quantity limits or pre-
authorization requirements; often in preferred tiers.

104. Defendant, INSYS THERAPEUTICS, INC. (“Insys”), is a Delaware corporation
with its headquarters and principal place of business in Chandler, Arizona. Insys may be served
through its registered agent: The Corporation Trust Company, Sapeiion Trust Center, 1209
Orange Street, Wilmington, Delaware 19801.

105. Insys manufactures, promotes, distributes and sells prescription opioids such as
Subsys. These opioids are manufactured in the United States and promoted, distributed, and sold
across the United States— including in Virginia and Montgomery County.

106. Insys transacts business in Virginia, targeting the Virginia market for its products,
including the opioids at issue in this lawsuit, which it has sold in Virginia. On information and
belief, Insys hires employees to service the Virginia market, and also directs advertising and
informational materials to impact Virginia physicians and potential users of their products.

107. Defendant, KVK-TECH, INC. (“IK VK-Tech”) is a Pennsylvania corporation with
its principle place of business in Newton, Pennsylvania. KVK-Tech may be served through its
registered agent: Frank Ripp, Jr., 110 Terry Drive, Newton, Pennsylvania 18940.

108. KVK-Tech is currently licensed as an out-of-state manufacturer/distributor with the
Virginia Department of Health Professions. Upon information and belief, KVK-Tech
manufactures, promotes, distributes and/or sells opioids nationally, in Virginia, and in
Montgomery County, including many controlled substances such as oxymorphone and oxycodone.

109, KVK-Tech also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $3.7 million on KWK-Tech’s opioids. This

represents approximately 3.84% of total Virginia reimbursements for opioids during that time

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period. These reimbursements represent only a fraction of the total earned by KVK-Tech from
its opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into KVK Tech’s ill-gotten gains and the harm
caused in Virginia through improper public and commercial opioid reimbursements.

110. Defendant, AMNEAL PHARMACEUTICALS LLC, is a Delaware limited liability
company with its principal place of business in Bridgewater, New Jersey. AMNEAL
PHARMACEUTICALS LLC was registered to do business in Virginia until 2017 and is currently
licensed as a non-resident wholesale distributor with the Virginia Department of Health
Professions, AMNEAL PHARMACEUTICALS LLC may be served through its registered agent:
The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,
Delaware 19801.

Ill. Defendant, IMPAX LABORATORIES, LLC., formerly known as Impax
Laboratories, Inc., is a Delaware limited liability company with its principle place of business in
Bridgewater, New Jersey. IMPAX LABORATORIES, LLC. may be served through its registered
agent: Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware 19808.

112. Upon information and belief, in May of 2018 Impax Laboratories, Inc. merged with
and into AMNEAL PHARMACEUTICALS LLC to form Defendant, AMNEAL
PHARMACEUTICALS, INC., a Delaware corporation with its principal place of business in
Bridgewater, New Jersey. AMNEAL PHARMACEUTICALS, INC. may be served through its
registered agent: Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware

19808.

 

35 State Medicaid Drug Utilization Data, supra note 22.

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113. Defendant, AMNEAL PHARMACEUTICALS OF NEW YORK, LLC, is a
Delaware limited liability company with its principal place of business in Hauppauge, New York.
Upon information and belief, AMNEAL PHARMACEUTICALS OF NEW YORK, LLC is a
subsidiary of AMNEAL PHARMACEUTICALS, INC. AMNEAL PHARMACEUTICALS OF
NEW YORK, LLC was registered to do business in Virginia until 2017 and is currently licensed
as a non-resident wholesale distributor with the Virginia Department of Health Professions.
AMNEAL PHARMACEUTICALS OF NEW YORK, LLC may be served through its registered
agent: The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,
Wilmington, Delaware 19801.

114. AMNEAL PHARMACEUTICALS, INC, AMNEAL PHARMACEUTICALS
LLC, AMNEAL PHARMACEUTICALS OF NEW YORK, LLC, and IMPAX
LABORATORIES, LLC are collectively referred to as “Amneal,”

115. Upon information and belief, Amneal manufactures, promotes, distributes and/or
sells opioids nationally, in Virginia, and in Montgomery County, including many controlled
substances such as oxycodone, oxymorphone, hydrocodone, tramadol, morphine and codeine.

116. Amneal also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $7.9 million on Amneal’s opioids. This
represents approximately 1.36% of total Virginia reimbursements for opioids during that time
period.*® These reimbursements represent only a fraction of the total earned by Amneal from its
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Amneal’s ill-gotten gains and the harm caused

in Virginia through improper public and commercial opioid reimbursements.

 

36 State Medicaid Drug Utilization Data, supra note 22.

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117. Defendant, MYLAN PHARMACEUTICALS, INC. (“Mylan”), is a West Virginia
corporation with its principal place of business in Canonsburg, Pennsylvania. Mylan is and has
been registered to do business in Virginia since 2010 and may be served in Virginia through its
registered agent: Corporation Service Company, 100 Shockoe Slip, 2" Floor, Richmond, Virginia
25219,

118. Mylan is currently licensed as an out-of-state manufacturer/distributor with the
Virginia Department of Health Professions. Upon information and belief, Mylan manufactures,
promotes, distributes and/or sells opioids nationally, in Virginia, and in Montgomery County,
including many controlled substances such as: fentanyl, methadone, oxycodone, hydrocodone,
morphine and tramadol.

119. Mylan also benefits from reimbursements by the Virginia Medicaid program.
Between 2006 and 2017, Virginia Medicaid spent over $4.5 million on Mylan’s opioids. This
represents approximately 3.4% of total Virginia reimbursements for opioids during that time
period.?? These reimbursements represent only a fraction of the total earned by Mylan from its -
opioid distribution in Virginia. Plaintiff does not yet have access to the DEA ARCOS data that
will provide substantially greater transparency into Mylan’s ill-gotten gains and the harm caused
in Virginia through improper public and commercial opioid reimbursements.

120. The manufacturer defendants listed above are all engaged in the manufacturing of
opioids. The manufacturer defendants listed above are collectively referred to herein as the
“Manufacturer Defendants.”

121. The failure of all Manufacturer Defendants to effectively monitor and report

suspicious orders of prescription opioids, their aggressive misinformation campaign aimed at

 

7 State Medicaid Drug Utilization Data, supra note 22.

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increasing public consumption of highly addictive opioids nationally, in Virginia and in
Montgomery County, their failure to forthrightly provide accurate information to the United States
Food and Drug Administration (“FDA”), their failure to adhere to FDA regulations regarding
misbranding, their failure to implement measures to prevent the filling of suspicious orders, and
their perverse utilization of so-called “patient advocacy” groups to evade FDA regulations
concerning consumer drug-marketing greatly contributed to a vast increase in opioid overuse and
addiction. Manufacturer Defendants’ conduct thus directly caused a public-health and law-
enforcement crisis across this country, including in Montgomery County.
DISTRIBUTOR DEFENDANTS

122. Defendant McKESSON CORPORATION (“McKesson”) is a Delaware
corporation with its principal place of business in San Francisco, California.

123. McKesson has been registered to do business in Virginia since at least January 1,
2018 and does substantial business in Virginia. McKesson has a Virginia taxpayer number and
may be served in Virginia through its registered agent: Corporation Service Company, 100
Shockoe Slip, 2" Floor, Richmond, Virginia 23219.

124. McKesson is the largest pharmaceutical distributor in North America. It distributes
pharmaceuticals to retail pharmacies and institutional providers in all 50 states, including Virginia.

125. Upon information and belief, McKesson is one of the largest distributors of opioid
pain medications in the country, including Virginia. In 2015, McKesson had a net income in excess
of $1.5 billion. McKesson also has a local warehouse that it operates out of Ruther Glen, Virginia,
which distributes pharmaceutical drugs including opioids in and around the Virginia.

126. In its 2017 Annual Report, McKesson states that it “partner[s] with pharmaceutical

manufacturers, providers, pharmacies, governments and other organizations in healthcare to help

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provide the right medicines, medical products and healthcare services to the right patients at the
right time, safely and cost-effectively.”*®

127. According to the 2017 Annual Report, McKesson “pharmaceutical distribution
business operates and serves thousands of customer locations through a network of 27 distribution
centers, as well as a primary redistribution center, two strategic redistribution centers and two
repackaging facilities, serving all 50 states and Puerto Rico.”39

128. McKesson hires employees to service the Virginia market. For example, McKesson
recently advertised online that it was seeking a Delivery Driver to operate out of Chesapeake,
Virginia, a Senior Accountant to operate out of Richmond, Virginia, and a Client Service Rep to
operate out of Richmond, Virginia.

129. Defendant MCKESSON MEDICAL-SURGICAL INC. (“McKesson Medical-
Surgical”) is a Virginia corporation with its principal place of business in Richmond, Virginia.

130. McKesson Medical-Surgical has been registered to do business in Virginia since at
least January 1, 2018 and does substantial business in Virginia. McKesson Medical-Surgical may
be served in Virginia through its registered agent: Corporation Service Company, 100 Shockoe
Slip, 2" Floor, Richmond, Virginia 23219.

131. McKesson Medical-Surgical engages in business in Virginia as a wholesale
distributor of pharmaceuticals, including opioids.

132. Defendant CARDINAL HEALTH, INC. (“Cardinal”).is an Ohio corporation with
its principal place of business in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail

pharmacies and institutional providers to customers in all 50 states, including Virginia.

 

8 McKesson 2017 Annual Report found at _https://investor.mckesson.com/sites/mckesson.investorhq,
businesswire.com/files/report/file/2017 McKesson Annual Report O.pdf

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133. Cardinal may be served in through its registered agent: CT Corporation System,
4400 Easton Commons Way Suite 125, Columbus, Ohio 43219.

134, Cardinal, through its many subsidiaries, including Cardinal Health Care Services,
Inc., possesses out-of-state pharmaceutical distribution licenses in Virginia, has been registered to
do business in Virginia since at least October 4, 2013 and may be served in Virginia through its
registered agent: CT Corporation System, 4701 Cox Road, Suite 285, Glen Allen, Virginia 23060,

135. Upon information and belief, Cardinal is one of the largest distributors of opioid
pain medications in the country, including in Virginia.

136. Defendant AMERISOURCEBERGEN DRUG CORPORATION (“Amerisource”)
is a Delaware corporation with its principal place of business in Chesterbrook, Pennsylvania.
Amerisource distributes pharmaceuticals to retail pharmacies and institutional providers to
customers in all 50 states, including Virginia.

i37. Amerisource has been registered to do business in Virginia since at least October
4, 2013 and may be served in Virginia through its registered agent: CT Corporation System, 4701
Cox Road, Suite 285, Glen Allen, Virginia 23060. Amerisource also has a loca! warehouse that it
operates out of Glen Allen, Virginia, which distributes pharmaceutical drugs including opioids in
and around the Virginia.

138. According to its 2016 Annual Report, Amerisource is “one of the largest global
pharmaceutical sourcing and distribution services companies, helping both healthcare providers
and pharmaceutical and biotech manufacturers improve patient access to products and enhance

patient care.”°

 

40 Amerisource 2016 Annual Report found at http://www.amerisourcebergen.com/investor/phoenix.zhtinl
2c=61181&p=irol-irhame

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139. Amerisource hires employees to service the Virginia market. For example,
Amerisource recently advertised online that it was seeking a Warehouse Associate | for the Night
Shift to operate out of Glen Allen, Virginia, a Warehouse Associate IT for the Day Shift to operate
out of Glen Allen, Virginia, and a Dispatcher/Operations to operate out of Herndon, Virginia.

140. Upon information and belief, Amerisource is one of the largest distributors of
opioid pain medications in the country, including Virginia.

141. Defendant HENRY SCHEIN, INC. is a Delaware corporation with its principal
place of business in Melville, New York. HENRY SCHEIN, INC. has been registered to do
business in Virginia since 1997, and at all relevant times, it conducted business as a licensed
prescription drug distributor in Virginia. HENRY SCHEIN, INC. may be served in Virginia
through its registered agent: Corporation Service Company, 100 Shockoe Slip, 2" Floor,
Richmond, Virginia 23219.

142. Defendant GENERAL INJECTABLES & VACCINES, INC. (“GIV”) is a Virginia
corporation with its principal place of business in Bastian, Virginia. In 1998, HENRY SCHEIN,
INC. acquired GIV for an estimated $65 million dollars.*! At all relevant times, GIV conducted
business as a licensed prescription drug distributor in Virginia. GIV may be served in Virginia
through its registered agent: Corporation Service Company, 100 Shockoe Slip, 2™ Floor,
Richmond, Virginia 23219,

143. Defendant INSOURCE, INC. (“Insource”) is a Virginia corporation with its
principal! place of business at the same location as GIV in Bastian, Virginia. HENRY SCHEIN,
INC. is the direct parent company of Insource, and, according to the Virginia State Corporation

Commission, Insource, Inc. is also an assumed name used by GIV. At all relevant times, Insource

 

*! HENRY SCHEIN, Henry Schein, Inc. Acquires Leading Independent U.S. Vaccine Supplier - 1998 Sales of $118
Million, Dec. 29, 1998, http://investor.henryschein.com/phoenix.zhtml?c=74322&p=irol-newsArticle&ID=53636

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conducted business as a licensed prescription drug distributor in Virginia. Insource may be served
in Virginia through its registered agent: Corporation Service Company, 100 Shockoe Slip, 2™4
Floor, Richmond, Virginia 23219.

144. HENRY SCHEIN, INC., GIV, AND INSOURCE are collectively referred to as
“Henry Schein.”

145. Henry Schein distributes, among other things, branded and generic pharmaceuticals
to customers that include dental practitioners, dental laboratories, animal health practices and
clinics, and office-based medical practitioners, ambulatory surgery centers, and other institutions.
At all relevant times, Henry Schein was in the business of distributing, and redistributing,
pharmaceutical products, including opioids, to consumers within Virginia.

146. In November of 2014, Henry Schein and Cardinal Health entered into a strategic
partnership, which consolidated Cardinal Health's physician office-sales organization into Henry
Schein’s subsidiary Henry Schein Medical. Henry Schein took responsibility for serving physician
offices, and through its contract with Cardinal Health, gained access to over 25,000 physical
offices as customer locations.” As a result of this agreement, Henry Schein Medical added more
than $300 million in annual sales.

147. In 2015, Henry Schein reported that its sales reached a record $10.4 billion and that
it had grown at a compound annual rate of approximately sixteen percent (16%) since becoming a
public company in 1995. Overall, it is the world’s largest provider of health care products and
services to office-based dental, animal health, and medical practitioners.

148. Defendant CVS HEALTH CORPORATION (“CVS Health”), formerly known as

CVS Caremark Corporation, is a Delaware corporation with its principal place of business located

 

“2 Raymond Davis, Henry Schein and Cardinal, THE J. OF HEALTHCARE CONTRACTING, Feb. 12, 2018,
http://www. jhconline.com/henry-schein-and-cardinal html

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in Woonsocket, Rhode Island. CVS Health tea be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange, Street, Wilmington,
Delaware 19801.

149. Defendant CVS PHARMACY, INC. (“CVS Pharmacy”) is a Rhode Island
corporation whose principal place of business is at the same location as CVS Health. On
information and belief, CVS Health is the direct parent company of CVS Pharmacy. CVS
Pharmacy has been registered to do business in Virginia since at least 1996 and may be served in
Virginia through its registered agent: CT Corporation System, 4701 Cox Road, Suite 285, Glen
Allen, Virginia 23060.

150. Defendant CVS TN DISTRIBUTION, L.L.C. (“CVS TN”) is Tennessee limited
liability company whose principal place of business is at the same location as CVS Health and
CVS Pharmacy. On information and belief, CVS Pharmacy is the sole member of CVS TN. CVS
TN may be served through its registered agent: CT Corporation System, 300 Montvue Road,
Knoxville, Tennessee 37919.

151. Upon information and belief, CVS Health, CVS Pharmacy and CVS TN distribute
pharmaceuticals to retail pharmacies and institutional providers to customers in all 50 states,
including Virginia. At all relevant times, CVS TN conducted business as a licensed prescription
drug distributor in Virginia.

152. Defendant WALGREENS BOOTS ALLIANCE, INC. (“Walgreens Boots”) is a
Delaware corporation with its principal place of business in Deerfield, Illinois. Walgreens Boots
may be served through its registered agent: Corporation Service Company, 251 Little Falls Drive,
Wilmington, Delaware 19808.

153. Defendant WALGREEN CO. is an Illinois corporation whose principal place of

business is at the same location as Walgreens Boots. On information and belief, Walgreens Boots

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is the parent company of WALGREEN CO. WALGREEN CO. has been registered to do business
in Virginia since 1995 and may be served in Virginia through its registered agent: Corporation
Service Company, 100 Shockoe Slip, 2"4 Floor, Richmond, Virginia 23219. Walgreens Boots and
WALGREEN CO. are collectively referred to as “Walgreens.” |

154. Upon information and belief, Walgreens distributes pharmaceuticals to retail
pharmacies and institutional providers to customers in all 50 states, including Virginia. Walgreens
is currently licensed as a non-resident distributor with the Virginia Department of Health
Professions.

155. The distributor defendants listed above are all engaged in the wholesale distribution
of opioids. The distributor defendants listed above are collectively referred to herein as the
“Distributor Defendants.”

156. The Distributor Defendants purchased opioids from manufacturers, such as the
Manufacturer Defendants herein, and sold them to pharmacies throughout Virginia, including in
Montgomery County. The Distributor Defendants played an integral role in opioids being
distributed across Virginia, including Montgomery County.

157. The failure of all Distributor Defendants to effectively monitor and report
suspicious orders of prescription opioids and to implement measures to prevent the filling of
invalid and medically unnecessary prescriptions greatly contributed to the vast increase in opioid
overuse and addiction. Distributor Defendants’ conduct thus directly caused a public-health and
law-enforcement crisis across this country, including in Montgomery County.

D. PHARMACY BENEFIT MANAGER DEFENDANTS

158. The Pharmacy Benefit Manager Defendants (“PBM Defendants”) are defined

below. At all relevant times the PBM Defendants acted as the gatekeepers of prescription drugs

including opioids. Pharmacy benefit managers (“PBMs”) establish formularies which govern

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which drugs are reimbursed and free They determine morphine milligram equivalents (““MMEs”)
quantity limits and pre-authorization requirements. They negotiate with drug manufacturers to
offer preferred drug formulary placement for drugs. They establish reimbursement rates for the
drugs dispensed. PBMs earn revenue from at least the following sources: fees from health plans
and employers, rebates and other incentives from drug manufacturers, including administrative
fees and volume bonuses, and fees from maintaining pharmacy networks.

159. Defendant, CVS HEALTH CORPORATION (“CVS Health”), formerly known as
CVS Caremark Corporation, is a Delaware corporation with its principal place of business located
in Woonsocket, Rhode Island. CVS Health way be served through its registered agent: The
Corporation Trust Company, Corporation Trust Center, 1209 Orange, Street, Wilmington,
Delaware 19801.

160. Defendant, CAREMARK RX, L.L.C., is a Delaware limited liability company
whose principal place of business is at the same location as CVS Health. On information and belief,
CVS Health is the direct parent company of CAREMARK RX, L.L.C. According to CVS Health’s
2016 Annual Report, Defendant CAREMARK RX, L.L.C. is “the parent of [CVS Health]’s
pharmacy services subsidiaries, is the immediate or indirect parent of many retai] pharmacies,
mail-order pharmacies, a pharmacy benefit management division, infusion services, services to
Medicaid and Medicare Part D beneficiaries, insurance, specialty mail and retail specialty
pharmacy subsidiaries, all of which operate in the United States and its territories.” CAREMARK
RX, L.L.C, may be served through its registered agent: The Corporation Trust Company,

Corporation Trust Center, 1209 Orange, Street, Wilmington, Delaware 19801.

 

“3 Health Policy Brief, On behalf of payers, pharmacy benefit managers negotiate rebates from drug makers in
exchange for preferred formulary placement, HEALTH AFFAIRS, Sep. 14, 2017, https://www.healthaffairs.org/do/
10.1377/hpb20171409.000178/full/

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161. Defendant, CAREMARKPCS HEALTH, L.L.C., is a Delaware limited liability
company whose principal place of business is at the same location as CVS Health. On information
and belief, CVS Health is the direct or indirect parent company of CAREMARKPCS HEALTH, |
L.L.C. CAREMARKPCS HEALTH, L.L.C. is registered to do business in Virginia and may be
served in Virginia through its registered agent: CT Corporation System, 4701 Cox Road, Suite
285, Glen Allen, Virginia 23060.

162, Defendant, CAREMARK, L.L.C., is a California limited liability company whose
principal place of business is at the same location as CVS Health. On information and belief,
CAREMARK RX, L.L.C. is the sole member of CAREMARK, L.L.C. CAREMARK, L.L.C. is
registered to do business in Virginia and may be served by its registered agent: CT Corporation
System, 4701 Cox Road, Suite 285, Glen Allen, Virginia 23060.

163. Defendants CAREMARK RX, L.L.C., CAREMARKPCS HEALTH, L.L.C., and
CAREMARK, L.L.C. are collectively referred to as “Caremark.”

164. CVS Health describes itself in a September 3, 2014 press release as a “pharmacy
innovation company helping people on their path to better health. Through our 7,700 retail
pharmacies, 900 walk-in medical clinics, a leading pharmacy benefits manager with nearly 65
million plan members, and expanding specialty pharmacy services, we enable people business and
communities to manage health in more affordable, effective ways. This unique integrated model
increases access to care, delivers better health outcomes and lowers overall health care costs.” In
2016, CVS Health reported an operating income of $10 billion.

165. In the above-referenced September 3, 2014 press release CVS Health announced
its change of name from CVS Caremark Corporation to CVS Health. CVS Health explained that
it was changing Its name “to reflect its broader health care commitment and its expertise in driving

the irinovations needed to shape the future of health,” CVS Health explained that the newly-named

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company included “its pharmacy benefit management business, which is known as
CVS/Caremark.” In that same press release, CVS Health touted, “[flor our patients and customers,
health is everything and...we are advising on prescriptions: [and] helping manage chronic and
specialty conditions.” [emphasis supplied]. In December 2017, CVS made a $69 billion bid to
purchase Aetna. If the companies merge, the clout of CVS will grow even more.
166, According to the Drug Channels Institute, CVS Health (Caremark) was the highest
ranking PBM in 2017 with over twenty-five percent (25%) of the industry market share.“4
167. Caremark says the following about its “Formulary Development and
Management”:
Development and management of drug formularies is an_ integral
component in the pharmacy benefit management (PBM) services CVS
Caremark provides to health plans and plan sponsors. Formularies have two
primary functions: 1) to help the PBM provide pharmacy care that is
clinically sound and affordable for plans and their plan members; and 2) to
help manage drug spend through the appropriate selection and use of drug
therapy.*°
168. At all times relevant hereto, CVS Health, through Caremark, derives substantial
revenue providing pharmacy benefits in Virginia through several different means including, but

not limited to, providing services and its formulary to the Piedmont Community Health Plan“, the

Fairfax County Public Schools,*” and the University of Virginia Health Plan.*®

 

““ Cigna-Express Scripts: Vertical Integration and PBMs' Medical-Pharmacy Future, DRUG CHANNELS INSTITUTE,
Mar, 9, 2018, hitps://www.drugchannels.net/2018/03/ciena-express-scripts-vertical. htm]

“8 CVS Caremark, Formulary Development and Management at CVS Caremark, Mar. 25, 2018,

https://www.caremark.com/portal/asset/FormDev Memt.pdf, at 1

“6 Piedmont Community Health Plan, Prescription Drugs, https://www.pchp.net/index.php/group-coverape-
providers/provider-prescription-drugs.html

47 Fairfax County Public Schools, Prescription Benefits, https://www.feps.edu/node/32873

 

48 University of Virginia Health Plan, Important Guidelines, 2010, http://www.hr.virginia.edu/uploads/
documents/media/UVA Health ImportantGuidelines2010.pdf

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169. At all times relevant hereto, CVS Health and Caremark offered pharmacy benefit
management services nationwide and maintained a national formulary or formularies that are used
nationwide, including in Montgomery County. At all times relevant hereto, those formularies
included opioids, including those at issue in this case. At all times relevant hereto, those
formularies allowed for the dispensing and reimbursement of such opioids in Virginia, including
in Montgomery County.

170. Defendant, EXPRESS SCRIPTS HOLDING COMPANY (“ESHC”), is a Delaware
corporation with its principal place of business in St. Louis, Missouri. ESHC may be served
through its registered agent: Corporation Service Company, 251 Little Falls Drive, Wilmington,
Delaware 19808.

171. Defendant, EXPRESS SCRIPTS, INC. (“ESI”), is incorporated in the State of
Delaware with its principal place of business located in St. Louis, Missouri, is a pharmacy benefit
management company, and is a wholly-owned subsidiary of ESHC. ESI has been registered to do
business in Virginia since at least 1987 and has an active license with the Virginia Department of
Health Professions (the original of which was applied for in 1991). ESI may be served in Virginia
through its registered agent: The Corporation Service Company, 100 Shockoe Slip, 2nd Floor,
Richmond, Virginia 23219.

172. ESHC and ESI are collectively referred to as “Express Scripts”.

173. In 2012, ES] acquired its rival, Medco Health Solutions Inc., in a $29.1 billion deal,

As a result of the merger, ESHC was formed and became the largest PBM in the nation, filing a

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combined 1.4 billion prescriptions for employers and insurers.*? In March of 2018, ESI made a
$67 billion bid to purchase Cigna. If the companies merge, the clout of ES] will grow even more.

174. According to the Drug Channels Institute, Express Scripts was the second highest
ranking PBM in 2017 with twenty-four (24%) of the industry market share.°°

175. Express Scripts “provides pharmacy benefits to 83 million members. Of these, more
than 27 million obtain their pharmacy benefit coverage through one of Express Scripts’ standard
formularies and more people use the [Express Scripts’] National Preferred Formulary than any
other formulary in the U.S.”°!

176. Express Scripts standard formularies are “governed by [its] National Pharmacy &
Therapeutics Committee (the ‘P&T Committee’), a panel of independent physicians and
pharmacists in active clinical practice, representing a variety of specialties and practice settings
and typically with major academic affiliations.”5? Express Scripts touts that the “the P&T
Committee considers the drug’s safety and efficacy,” and the company “fully compl[ies] with the
P&T Committee’s clinical recommendations regarding drugs that must be included or excluded
from the formulary based on their assessment of safety and efficacy.”™ Express Scripts “re-

evaluate[s] [its] National Preferred Formulary on an annual basis. [It] looks at the formulary first

 

© Peter Frost, Express Scripts closes $29.1-billion purchase of Medco, LOS ANGELES TIMES (Apr. 3, 2012),
http://articles Jatimes.com/2012/apr/03/business/la-fi-medco-20120403

* Cigna-Express Scripts: Vertical Integration and PBMs' Medical-Pharmacy Future, supra note 44,

*! Express Scripts, The Value of Active Pharmacy Management: Express Scripts 2018 National Preferred Fornulary,
2018, hitps://www.multivu.com/ players/English/8 149524 | -express-scripts-national-preferred-formular y-2018/, at 1.

*% Express Scripts, Express Scripts 2017 Annual Report, https://expressscriptsholdineco.ecs-web.com/static-
files/76a9c03e-2e6b-4f6b-80de-fe80d 4ebc826, at 11.

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from a clinical perspective to ensure that it provides access to safe and effective medications in all
therapy classes.”°4

177. Express Scripts derives substantial revenue managing pharmacy benefits in
Virginia through several different means, including, but not limited to, providing services and its
formulary to (i) the Express Scripts Medicare for the Commonwealth of Virginia Retiree Health
Benefits Program>?, (ii) the Virginia Private Colleges Benefits Consortium, which covers as many
as 7,000 lives°®, and (iii) workers’ compensation insurance programs in Virginia such as the
Virginia Association of Counties Group Self-Insurance Risk Pool (“VACORP”).2’ Upon
initoeaadion and belief, these are some of the many ways in which Express Scripts reimburses for
claims in Montgomery County, including opioids.

178. Express Scripts publishes employment vacancies related to its Virginia PBM
business activities on its website.*®

179. Atall times relevant hereto, Express Scripts offered pharmacy benefit management
services, including mail-order pharmacy services, a nationwide retail pharmacy network, and

maintained a national formulary or formularies that are used nationwide, including in Montgomery

County. At all times relevant hereto, those formularies included opioids, including those at issue

 

* Express Scripts, Smart Formulary Management, Jan. 2, 2014, http://lab.express-scripts.com/lab/insights/drue-
options/smart-formulary-management, at 2 (emphasis added).
* The Virginia Private Colleges Benefits Consortium, http://www.cicv.org/Benefits-Consortium.aspx

* State Retiree Health Benefits Program—Fact Sheet #8A, Prescription Drugs—Medicare—Eligible Participants.
https://www.dhrm.virginia.gov/docs/default-source/benefitsdocuments/ohb/factsheets/sheet-8a A894 A6CA3857.pdf?
sfyrsn=0

7 VACORP, Understanding the Virginia Workers’ Compensation Claims Process, 2016, http://www.vacorp.ore/wp-
content/uploads/2016/02/Workers-Compensation- VACORP. pdf

*8 Express Scripts employment listings in Virginia, e.g., (i) Infusion Nurse RN — Accredo, Richmond, Virginia
(http://www. indeed.com/viewjob?jk=fSccofl a9c43b2c03 &tk=1c85uleckafthavO& from=serp&vjs=3); (ii) Infusion
Nurse RN Per Diem - Accredo. Roanoke, Virginia (https://www.indeed.com/viewjob?jk=7d1b16bc
S9d5d0d0&tk=1c85ulcckafthav0& from=serp&vjs=3); and (iii) Infusion Nurse RN — Accredo, Ashburn, Virginia
(https://www.glassdoor.com/job-listing/infusion-nurse-rn-accredo-express-scripts-IV_1C]1130338 KO0.25 KE26.4
| htm? {!=2627435077 &ctt=1520618868067)

   

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in this case. At all times relevant hereto, those formularies allowed for the dispensing and
reimbursement of such opioids in Virginia, including in Montgomery County.

180. Defendant, UNITEDHEALTH GROUP INCORPORATED (“UnitedHealth”), a
Delaware corporation with its principal place of business located in Minnetonka, Minnesota, is a
diversified managed health care company with two business platforms. UnitedHealth serves
approximately 115 million individuals throughout the United States. For 2016, UnitedHealth
reported an operating income of $12.9 billion.

181. On information and belief, UnitedHealth is the parent company of
UnitedHealthcare of the Mid-Atlantic, Inc., UnitedHealthcare of Wisconsin, Inc. and
UnitedHealthcare Plan of the River Valley, Inc. (collectively “UHC Subs”). All of the UHC Subs
are registered to do business in Virginia, are licensed with the Virginia State Corporation
Commission’s Bureau of Insurance and may be served in Virginia through their registered agent:
CT Corporation System, 4701 Cox Road, Suite 285, Glen Allen, Virginia 23060.

182. Defendant, OPTUM, INC., is a Delaware corporation with its principal place of
business located in Eden Prairie, Minnesota. OPTUM, INC. is a health services company
managing the subsidiaries that administer UnitedHealth’s pharmacy benefits, including
OPTUMRX, INC. On information and belief, OPTUM, INC. is a subsidiary of UnitedHealth.

183. Defendant, OPTUMRX, INC, (“OptumRx”), is a California corporation with its
principal place of business located in Irvine, California. OptumRx operates as a subsidiary of
OptumRx Holdings, LLC, which in turn operates as a subsidiary of OPTUM, INC. OptumRx
operates as the PBM for UnitedHealth.

184, UnitedHealth and OPTUM, INC. may be served through their registered agent: CT

Corporation System, Inc., 1010 Dale Street North, St. Paul, Minnesota 5517.

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185. OptumRx has been registered to do business in Virginia since at least 2008 and may
be served in Virginia through its registered agent: CT Corporation System, 4701 Cox Road, Suite
285, Glen Allen, Virginia 23060.

186. According to the Drug Channels Institute, OptumRx was the third highest ranking
PBM in 2017 with twenty-two percent (22%) of the industry market share.*?

187. In one case, OptumRx, which is owned by UnitedHealth, suggested that a member
taking Butrans consider switching to a “lower cost alternative,” such as OxyContin or extended-
release morphine, according to a letter provided by the member. Mr. Wiggin, the UnitedHealthcare
spokesman, said the company’s rules and preferred drug list “are designed to ensure members have
access to drugs they need for acute situations, such as post-surgical care or serious injury, or
ongoing cancer treatment and end of life care, as well as for long-term use after alternatives are
tried,”

188, “UnitedHealthcare places morphine on its lowest-cost drug coverage tier with no
prior permission required, while in many cases excluding Butrans. And it places Lyrica, a non-
opioid, brand-name drug that treats nerve pain, on its most expensive tier, requiring patients to try
other drugs first.”°!

189. At all times relevant hereto, OptumRx derived substantial revenue providing
pharmacy benefits in Virginia through several different means, including, but not limited to,

providing services and formulary management for (i) the Eastern Virginia Medical School, and

 

*Cigna-Express Scripts: Vertical Integration and PBMs’ Medical-Pharmacy Future, supra note 44,

® Katie Thomas and Charles Ornstein, Antid Opioid Crisis, Insurers Restrict Pricey, Less Addictive Painkillers, THE
NEw YORK TIMES, Sep. 17, 2017, https://www.nytimes.com/2017/09/17/health/opioid-painkillers-insurance-
companies.html?mwrsm=Email

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*Eastem Virginia Medical School, Student Wellness Program, 2017, http:/Avww.evms.edu/
about_evms/administrative_offices/human_resources/student health insurance/; Eastern Virginia Medical School,

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(ii) the Washington Metropolitan |Area Transit Authority (WMATA) Employee Health and
Welfare Plan®? and Prescription Dig Benefits.

190, At all times relevant hereto, OptumRx offered pharmacy benefit management
services nationwide and maintained a national formulary or formularies that are used nationwide,
including in Montgomery County. At all times relevant hereto, those formularies included opioids,
including those at issue in this case. At all times relevant hereto, those formularies allowed for the
dispensing and reimbursement of such opioids in Virginia, including in Montgomery County.

191. The PBM Defendants managed the reimbursement for the vast majority of opioids
at issue in this case. Without the PBM Defendants’ reimbursement for the opioids at issue herein,
the opioids likely would not have entered the marketplace and the entire scheme would have failed.
E. DOE DEFENDANTS |

192. Doe DEFENDANTS 1 to 100 are sued herein under fictitious names because after
diligent and good faith efforts their names, identities, and capacities, whether individual, corporate,
associate, or otherwise, are presently unknown to Plaintiff, Plaintiff will make the names or
identities of said Defendants known to the Court after the information has been ascertained.
Plaintiff is informed and believes, and based thereupon alleges, that each of the Defendants
designated herein as a DOE DEFENDANT has taken part in and participated with, and/or aided
and abetted, some or all of the other Defendants in some or all of the matters referred to herein and

the Plaintiff is informed and believes, and on such information and belief alleges, that each of the

 

Student Injury and Sickness Insurance Plan, 2014-2015,  hitps://www.uhesr.com/uhcsrBrochures/
Public/ClientBrochures/2014-193-1 Brochure.pdf

& Washington Metropolitan Area Transit Authority (“WMATA”) Transit Employees’ Health and Welfare Plan, Plan
Benefit Overview, http://www.tehw.org/plan-benefits/plan-benefit-overview.aspx
Washington Metropolitan Area Transit Authority (“WMATA”) Transit Employees’ Health and Welfare Plan,

Prescription Drug Benefits, http://www.tehw.ore/plan-benefits/health-and-welfare-benefits/prescription-drug-
benefits.aspx

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Defendants named as a DOE is responsible in some manner for the events and occurrences alleged
in this Complaint and is liable for the relief sought herein.

IV. FACTUAL ALLEGATIONS
A. BACKGROUND ON PRESCRIPTION OPIOIDS

193. The term opioid includes (a) all drugs derived in whole or in part from the
morphine-containing opium poppy plant such as morphine, laudanum, codeine, thebaine,
hydrocodone, oxycodone, and oxymorphone, and (b) synthetic opioids like fentanyl or
methadone.©

194, Prior to the 1990’s, doctors prescribed opioid pain relievers sparingly, and only for
short term use, for cases of acute injury or illness, during surgery or end-of-life (“palliative”)
care.® Doctors’ reluctance to use opioids for an extended period of time was due to the legitimate
fear of causing addiction.°’

195. Beginning in the late 20th century, however, and continuing through today, the
pharmaceutical industry acted to dramatically expand the marketplace for opioids. As set forth
below, pharmaceutical actors facilitated this expansion in three ways. First, pharmaceutical
manufacturers engaged in a misinformation campaign which altered public perception of opioids,
and deceived doctors, federal regulators, and the general public about their addictive qualities.
Second, opioid manufacturers and wholesalers/distributors flouted their federally imposed
requirements to report suspicious opioid orders to the United States Drug Enforcement
Administration (“DEA”) and state agencies. These facilitated an explosion in the illegitimate

marketplace for prescription opioids. Third, PBMs ensured that opioids were widely available and

 

§ 2] U.S.C. § 812 Schedule IT (2012).
66 Meldrum ML, Progress in Pain Research and Management, Vol. 25 Seattle, WA: [ASP Press; 2003.
§7 Id,

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regularly prescribed and reimbursed, while failing in their obligation to monitor inappropriate drug

utilization.

196, As a result of Defendants’ wrongful conduct, the number of prescriptions for
opioids increased sharply, reaching nearly 250 million prescriptions in 2013, almost enough for
every person in the United States to have a bottle of pills. This represents an increase of three
hundred percent (300%) since 1999,

B. IMPACT ON VIRGINIA AND MONTGOMERY COUNTY

197. While the Defendants have profited from the alarming rate of opioids used in the
United States, communities across the country, especially those in lower-income areas, have
suffered. According to the CDC, the nation is experiencing an opioid-induced “public health
epidemic.” The CDC reports that prescription opioid use contributed to 16,651 overdose deaths
nationally in 2010; 16,917 in 2011; and 16,007 in 2012. Based on the latest data, nearly two million
Americans met criteria for prescription opioid abuse and dependence in 2013. Aggregate costs
for prescription opioid overdose, abuse, and dependence were estimated at over $78.5 billion (in
2013 dollars).©?

198. While Defendants were reaping billions of dollars in profits from their wrongful
conduct, Plaintiff has been required to allocate substantial public monies and resources to combat
the opioid crisis in Montgomery County and deal with its fallout.

199, Plaintiff has incurred and continues to incur substantial costs because of
Defendants’ conduct as described herein, including, but not limited to, costs of increased services

with respect to law enforcement, first responders such as emergency medical services, detention

 

*8 Wolters Kluwer Health, Costs of US prescription opioid epidemic estimated at $78.5 billion, SCIENCE DAILY, Sept.
14, 2016, https://www.sciencedaily.com/releases/2016/09/160914105756.htm

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centers and jails, courts, prevention and treatment centers, community outreach programs,
equipment and supplies, victim services supports, drug abuse prevention programs, inmate
services including housing, health and support staff, intervention programs, foster care and child
placement services, together with general societal costs, and lost productivity costs.

200. According to the CDC, in Virginia there were 1,405 drug overdose deaths in 2016,
with opioids being the main driver, a 34.7 percent increase over drug overdose deaths in 2015.”

201. The CDC in 2012 reported that there were between 72 and 82.1 painkiller
prescriptions per 100 people in Virginia.”!

202, The CDC reports that Montgomery County’s mortality rates due to drug poisoning
rose drastically in the seventeen-year period between 1999 and 2016.” These drug-related deaths
grew steadily from an 4-5.9 death per 100,000 population in 1999 to 14-15.9 in 2016.” During
the same period (1999-2016) the population increased from 83,175 in 1999 to 98,602 tn 2016,
meaning that not only the rate of overdose deaths was increasing, but that a higher percentage of
a larger group of people were being killed by opioids in Montgomery County.

203. Data reveals a dramatic increase in opioid abuse and deaths in recent years. The
Virginia Department of Health numbers estimates the 1,136 overdose deaths from prescription

painkillers, heroin, and heroin synthetics statewide in 2016 was 40 percent higher than the 811

deaths from the same cause in 2015.” In just the first nine months of 2016, the state recorded 822

 

7 CDC Drug Overdose Data, https://www.cdc.gow/drugoverdose/data/statedeaths.htin]

1! German Lopez, The growing number of Imvsuits against opioid companies, explained, VOX, Feb. 27, 2018,
https://www.vox.conypolicy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits

™ Centers for Disease Control and Prevention Drug Poisoning Mortality Rates in the United States, 1999-2016,
https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality/

73 ld

74 AG Mark Herring announces policy proposals on heroin and opioid abuse, DAILY PRESS, September 18, 2017,
http://www.dailypress.com/health/dp-nws-herring-heroin-20170918-story.htm|

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opioid overdose deaths compared to 811 in all of 2015.”° There was a 77% increase in fatal opioid
overdoses in the five years from 2011-2016.” “[T]he [statewide] numbers are so big they almost
don’t seem real,” declared Attorney General Mark Herring in 2017, “[w]e have too many empty
bedrooms, too many empty chairs at kitchen tables.””’

204. There are several factors that point to the severity of the opioid crisis in Virginia.
A recent Virginia Commonwealth University study found that “[a]t least two Virginians die from
prescription opioid and heroin overdoses every day.”’* The state estimates that its Medicaid
program spent $26 million on opioid use and misuse in 2013.” The number of babies in Virginia
born with neonatal abstinence syndrome (NAS), resulting from opioids being used during
pregnancy, has continued to rise with the NAS birth rate doubling from 2.9 per 1,000 live births
in 2011 to 6.1 per 1,000 live births in 2015.°° In 2016, state health officials found that more than

770 Virginia newborns, out of nearly 96,000 live births, were diagnosed with NAS.*! The number

of infants diagnosed with NAS quadrupled from 2012-2016." In Montgomery County, the

 

”’ Katie Demeria, Va, board creates new opioid prescription guidelines, RICHMOND TIMES-DISPATCH, Feb. 20, 2017,
http://www.richmond.com/life/health/va-board-creates-new-opioid-prescription-cuidelines/article 34ceace4-24f7-
5125-9445-680(6f7bede4.html

© Dr. Melissa Levine, State Health Commissioner Telebriefing on Opioid Addiction Public Health Emergency (Nov,
21, 2016) (transcript available at http:/Avww.vdh.virginia.gov/commissioner/opioid-addiction-in-virginia/).

” Patricia Sullivan, Va. attorney general urges collaboration in batiling opioid crisis, THE WASHINGTON POST, May
26, 2017, https://www.washingtonpost.com/local/virginia-news/va-attorney-general-urges-collaboration-in-battline-
opioid-crisis/2017/05/24/2c | ca6b2-3 fec- | 1e7-9869-bac8b446820a_story.html?utm_term=.a760b4a4 fa85

Andrew Barnes and Katherine Neuhausen, The Opioid Crisis Among Virginia Medicaid Beneficiaries, VIRGINIA
COMMONWEALTH UNIVERSITY SCHOOL OF MEDICINE, https://hbp.vcu.edu/media/hbp/policybriefs/pdfs/Senate
OpioidCristsPolicyBrief_Final.pdf

79 Id.

* Virginia Neonatal Perinatal Collaborative Receives State Support For Pregnant Women With Substance Use
Disorders, Infants With Neonatal Abstinence Syndrome, June 28, 2017, http://www.alexandrianews.ore/
2017/06/new-virginia-neonatal-perinatal-collaborative-committed-to-improving-birth-outcomes-receives-state-supp
ort-to-enhance-care-for-pregnant-women-with-substance-use-disorders-and-infants-with-neonatal-ab/

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problem is even more severe, with the NAS rate far exceeding the statewide rate every year since
at least 2011.8

205. Like other Virginia localities, Montgomery County has also had to allocate
resources to preventing and addressing opioid abuse by children and teenagers. A study of child
overdose deaths in Virginia between 2009 and 2013 found that “[nJearly two-thirds of child
overdose victims were teenagers between the ages of 13 and 17.84 Prescription medications,
specifically methadone and oxycodone, “caused or contributed to more child deaths than any other
substance (68%).”

206. With the increase in prescription opioid abuse, Virginia localities such as
Montgomery County have seen a rise in illegal drug use, including the use of heroin and illegally
obtained fentanyl, as well as an increase in drug-related arrests.

207, As a result of the increase in opioid-related criminal activity, Montgomery
County’s correctional and incarceration costs have been exceedingly high over the last five years.
The opioid epidemic has not only impacted Montgomery County’s law enforcement and
correctional costs, It has also had a startling impact on other costs. For example, the influx of
opioids into Montgomery County has led to a rise in the need for foster care and other child
placement services in the County, as well as a rise in the need for emergency response services in
the County.

208. Retail drug summary reports publicly available through the DEA’s Automation of

Reports and Consolidated Orders System (““ARCOS”) confirm that Montgomery County has

 

VIRGINIA DEPARTMENT OF HEALTH, VIRGINIA OPIOID ADDICTION INDICATORS (2016),
https://public.tableau,cony/views/V irginiaOpioidAddictionI ndicators/VAOpioid Addiction ndicators?:embed=y&:dis
play count=yes&:showVizHome=no

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experienced the same startling trend of soaring opioid use as is seen nationwide. The ARCOS Data
table below reflects transactional data for selected opioid drugs submitted by the drug
manufacturers and distributors doing business in Virginia. The volume of selected opioid drugs
distributed in Montgomery County between 2001 and 2016 reflects a startling increase of almost

100% in annual opioid consumption during that period.®
p & p

 

Montgomery County Annual Opioid Use as Derived from Arcos Data

200,000 +» --
180,000
160,000
140,000

120,000 - -- -

 

100,000

Reported Opioid Volume (grams)

80,000 -

60,000 ---- oe . . . Loa _.
2001 «2002 «62003 2004 «=200S = 2006 §= 2007 )= 2008 )=— 2009) 2010) 201 920122013, OEY = AMS = 206

Year

 

 

 

Cc. PARTICULARS REGARDING EACH DEFENDANT GROUP’S ROLE IN THE
OPIOID EPIDEMIC

 

85 The ARCOS transactional data reflected in this chart includes the following drugs categorized as opioids: codeine,
buprenorphine, dihydrocodeine, oxycodone, hydromorphone, hydrocodone, levorphanol, meperidine (pethidine),
methadone, morphine, opium (powdered), oxymorphone, alfentanil, remifentanil, sufentanil base, tapentadol, and
fentanyl base. The ARCOS transaction data reflected in this chart includes the following regions of Virginia: City of
Roanoke, Floyd County, Montgomery County, Franklin County, Giles County, Botetourt County, Henry County,
Patrick County, Bedford County, Pittsylvania County, Pulaski County, and Roanoke County.

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k THE MANUFACTURER DEFENDANTS’ CAMPAIGN OF DECEPTION

a. THE MANUFACTURER DEFENDANTS’ CAMPAIGN TO
NORMALIZE WIDESPREAD OPIOID USE

209. Unsatisfied with the market for opioid use in the context of acute and palliative
care, the Manufacturer Defendants introduced new opioid drugs during the 1980s and 1990s and
began promoting their use for chronic pain therapy in an effort to increase the number of people
taking opioids.

210. Those new drugs included, but were not limited to: Purdue’s MS Contin (introduced
1987) and OxyContin (1995); Janssen’s Duragesic (1990), Nucynta (2008), and Nucynta ER
(2011); Cephalon’s Actiq (1998) and Fentora (2006); Endo’s Opana and Opana ER (2006); and
Insys’ Subsys (2012).

211. Recognizing the enormous financial possibilities associated with expanding the
opioid market, the Manufacturer Defendants rolled out a massive and concerted campaign to
misrepresent the addictive qualities of their product, and to push opioids as safe, effective drugs
for the treatment of pain associated with conditions such as everyday back pain, tooth aches,
sprains, headaches and the like.

212. In connection with this scheme, each Manufacturer Defendant spent, and continues
to spend, millions of dollars on promotional activities and materials that falsely deny or minimize
the risks of opioids while overstating the benefit of using them for chronic non-cancer related pain.
As just one example, on information and belief, the Manufacturer Defendants spent more than $14
million on medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

213. Further, each Defendant promoted the use of opioids for pain through sales
representatives who visited individual doctors and medical staff in their offices and through the

implementation of smail group speaker programs. Defendants devoted massive resources to direct

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such sales contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing
branded opioids to doctors, including $108 million by Purdue, $34 million by Janssen, $13 million
by Cephalon, $10 million by Endo, and $2 million by Actavis. These amount to twice as much as
Defendants spent on detailing in 2000.

214. The deceptive marketing schemes included, among others, (a) the hiring of certain
physicians, “hired guns,” to pollute the marketplace with false information regarding the efficacy
and risks of opioids for chronic pain treatment; (b) false or misleading materials, speaker programs,
webinars, and brochures by purportedly neutral third parties that were really designed and
distributed by the Manufacturer Defendants; (c) false or misleading direct, branded advertisements
and marketing materials; and (d) the misuse of treatment guidelines.

215, The Manufacturer Defendants’ misinformation campaign worked as intended.
Across the country, demand for prescription opioids exploded, including in Montgomery County.
Doctors and medical professionals, swayed by the Manufacturer Defendants’ sophisticated
propaganda machine, began prescribing sresotl ption opioids for ailments ranging from headaches
to neck pain to fibromyalgia. That unleashed a wave of addiction — further increasing the demand

for opioids. The Manufacturer Defendants’ profits soared.

b. THE MANUFACTURER DEFENDANTS’ HIRED GUNS

(1) DR. PORTENOY AND WEBSTER

216. The Manufacturer Defendants’ campaign of deception to downplay the addictive
nature of opioids was rooted in two pieces of purportedly “scientific” evidence. The first piece of
evidence was a five-sentence letter to the editor published in 1980 in the New England Journal of
Medicine. The letter was drafted by Hershel Jick, a doctor at Boston University Medical Center,

with the help of a graduate student, Jane Porter. It noted, anecdotally, that a review of “current

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files” did not indicate high levels of addiction among hospitalized medical patients who received

narcotic preparation treatment. In full, the letter reads:
Recently, we examined our current files to determine the incidence of
narcotic addiction in 39,946 hospitalized medical patients who were
monitored consecutively. Although there were 11,882 patients who
received at least one narcotic preparation, there were only four cases of
reasonably well-documented addiction in patients who had no history of
addiction. The addiction was considered major in only one instance. The
drugs implicated were meperidine in two patients, Percodan in one, and
hydromorphone in one. We conclude that despite widespread use of
narcotic drugs in hospitals, the development of addiction is rare in medical
patients with no history of addiction,*®
217. The second major piece of “evidence” used by Manufacturer Defendants was a
1986 study by Dr. Russell Portenoy in the medical journal Pain. The study, which had a patient
cohort of merely 38 patients, claimed that opioids could be used for long periods of time to treat
non-cancer related pain without any risk of addiction. The rationale behind the study was that
patients in pain would not become addicted to opioids because their pain drowned out the euphoria
associated with opioids, As such, the study concluded that opioids should be freely administered
to patients with fibromyalgia, headaches, finicky backs, and a host of other issues. According to
Portenoy and his co-author, Dr. Kathleen Foley, “opioid maintenance therapy can be a safe,
salutary and more humane alternative ... in those patients with intractable non-malignant pain and

no history of drug abuse.”8? Portenoy’s study also cited Jick’s one-paragraph letter to the New

England Journal of Medicine.

 

% Addiction rare in patients treated with narcotics, 302(2) NEW ENG. J. MED. 123 (Jan. 10, 1980).

§7 Portenoy RK, Foley KM, Chronie use of opioid analgesics in non-malignant pain: report of 38 cases, 25 PAIN 171
(1986).

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218. Dr. Portenoy’s study dovetailed perfectly with Manufacturer Defendants’
marketing strategy and, within a | decade, Dr. Portenoy was financed by “at least a dozen
companies, most of which produced prescription opioids.”®

219. Dr. Portenoy went on to serve as one of the pharmaceutical industry’s most vocal
advocates, regularly appearing at conferences and gatherings of medical professionals to promote
the use of opioids for chronic, long-term pain.

220. The Manufacturer Defendants disseminated fraudulent and misleading messages to
reverse the popular and medical understanding of opioids and their associated risks. They
disseminated these messages directly, through their sales representatives, in speaker groups led by
physicians the Manufacturer Defendants recruited for their support of their marketing messages,
through unbranded marketing and through industry-funded front groups.

221, These statements were not only unsupported by or contrary to the scientific
evidence, they were also contrary to pronouncements by and guidance from the FDA and CDC
based on that same evidence.

222. Hired guns like Dr. Portenoy promoted opioid analgesics and the myth that opioids
could be liberally prescribed for non-cancer related pain, without any risk of addiction.

223. Others like Dr. Portenoy would speak at academic conferences to primary care
physicians in an effort to destigmatize opioids and encouraged liberal prescription of narcotics for
the treatment of non-cancer related pain. They claimed that opioid analgesics have no “ceiling
dosage” in that prescribing physicians should increase dosages for patients as high as necessary to

treat non-cancer related pain. Invariably, the key piece of “data” cited in support of the proposition

that opioids could be safely used to treat pain was the New England Journal of Medicine article.

 

88 Meier B., Pain Killer: A Wonder Drug’s Trail of Addiction and Death, New York, NY: St. Martin’s Press; 2003.

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224. The Manufacturer Defendants also paid Dr. Lynn Webster, the co-founder and
Chief Medical Director of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt
Lake City, Utah, to promote opioids, Dr. Webster was President of the American Academy of Pain
Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same journal that
published Endo special advertising supplements touting Opana ER. Dr. Webster was the author of
numerous continuing medical education programs (“CMEs”) sponsored by Cephalon, Endo and
Purdue. At the same time, Dr. Webster was receiving significant funding from the Manufacturer
Defendants (including nearly $2 million from Cephalon).

225. Inthe years that have followed, both the New England Journal of Medicine letter
and Dr. Portenoy’s 1986 study have been expressly disavowed. Neither article actually
demonstrates that opioids can be safely prescribed for long-term, non-cancer related pain.

226. In a taped interview in 2011, Dr. Portenoy admitted that the information the
Manufacturer Defendants were pushing was false. “I gave innumerable lectures in the late 1980s
and ‘90s about addiction that weren’t true,” Dr. Portenoy told a fellow doctor in 2010. “It was the
wrong thing to do,”8?

I gave so many lectures to primary care audiences in which the Porter and
Jick article was just one piece of data that I would then cite. [ would cite 6
to 7 maybe 10 different avenues of thought or evidence, none of which
represents real evidence, And yet what I was trying to do was to create a
narrative so that the primary care audience would look at this information
in total and feel more comfortable about opioids in a way they hadn’t before
... Because the primary goal was to de-stigmatize, we often left evidence
behind.”

It was clearly the wrong thing to do and to the extent that some of the

adverse outcomes now are as bad as they have become in terms of endemic
occurrences of addiction and unintentional overdose death, it’s quite scary

 

8° Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, THE WALL STREET JOURNAL (Dec,
17, 2012).

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to think about how the growth in that prescribing driven by people like me
led, in part, to that occurring.”

227... As to the New England Journal of Medicine letter, Dr. Jick, in an interview with
Sam Quinones decades after the letter was published, stated: “[t]hat particular letter, for me, is
very near the bottom of a long list of studies that I’ve done. It’s useful as it stands because there’s
nothing else like it on hospitalized patients. But if you read it carefully, it does not speak to the
level of addiction in outpatients who take these drugs for chronic pain.”?!

228. The New England Journal of Medicine itself has since disavowed the letter, stating
“Sthe letter] was heavily and uncritically cited as evidence that nidicton was rare with long-term
opioid therapy.”** “We believe,” the journal provided, “that this citation pattern contributed to the

North American opioid crisis by helping to shape a narrative that allayed prescribers’ concerns
about the risk of addiction associated with long-term opioid therapy.”
(2) DEFENDANT-FUNDED ORGANIZATIONS

229. Manufacturer Defendants also funded multiple organizations to advocate for the
use of opioids to treat chronic pain, The names of the organizations suggest neutrality, but they
were anything but. They included the American Pain Foundation (“APF”); the American Academy
of Pain Management (which received funding from Manufacturer Defendants Endo, Janssens, and
Purdue); the American Pain Society (“APS”), the American Geriatrics Society (“AGS”), and the

Pain Care Forum (“PCF”).

(A) THE AMERICAN PAIN FOUNDATION

 

%0 Live interview with Dr. Russell Portenoy. Physicians Responsible for Opioid Prescribing,
https://www. youtube,com/watch?v=DeyuB WN9D4w, Accessed December 3, 2017 (emphases added).

*! Harrison Jacobs, This one-paragraph letter may have launched the opioid epidemic, BUSINESS INSIDER, Mar. 26,
2016, http://www. businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-20 16-5

2 376 New Eng. J. Med. 2194, 2194-95 (2017).
93 id

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230. The most prominent nonparty advocate for opioids, funded by Defendants, was the
American Pain Foundation (*APF”). APF received more than $10 million in funding from opioid
manufacturers from 2007 until it closed its doors in May 2012. Endo alone provided more than
half that funding; Purdue was next, at $1.7 million.

231. APF issued education guides for patients, reporters, and policymakers that touted
the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction,
APF also launched a campaign to promote opioids for returning veterans, which has contributed
to high rates of addiction and other adverse outcomes — including death — among returning soldiers.
APF also engaged in a significant multimedia campaign — through radio, television, and the
internet — to educate patients about their “right” to pain treatment, namely opioids. All of the
programs and materials were available nationally and were intended to reach Virginia consumers,
physicians, patients, and third-party payers.

232. Dr. Perry Fine (an opioid advocate from the University of Utah who received
funding from Janssen, Cephalon, Endo, and Purdue), Dr. Portenoy, and Dr. Scott Fishman (an
advocate the University of California who authored Responsible Opioid Prescribing, a publication
sponsored by Cephalon and Purdue), all served on APF’s board and reviewed its publications.
Another board member, Lisa Weiss, was an employee of a public relations firm that worked for
both Purdue and APF.

233. In 2009 and 2010, more than eighty percent (80%) of APF’s operating budget came
from pharmaceutical industry sources. Including industry grants for specific projects, APF
received about $2.3 million from industry sources out of total income of about $2.85 million in
2009; its budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of
a total income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants

from Defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit.

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